UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                          ) Case No. 20-12345 (MG)
                                                                )
THE ROMAN CATHOLIC DIOCESE OF                                   ) Chapter 11
ROCKVILLE CENTRE, NEW YORK,                                     )
                                                                )
                                   Debtor.1                     )
                                                                )


              EIGHTH INTERIM APPLICATION FOR ALLOWANCE OF
            COMPENSATION AND REIMBURSEMENT OF EXPENSES BY
               BURNS BAIR LLP AS SPECIAL INSURANCE COUNSEL
         FOR THE PERIOD FROM FEBRUARY 1, 2023 THROUGH MAY 31, 2023

         In accordance with the Local Rules for the Southern District of New York, Burns Bair LLP

(“Burns Bair” or the “Firm”), special insurance counsel for the Official Committee of Unsecured

Creditors (the “Committee”) of The Roman Catholic Diocese of Rockville Centre, New York (the

“Debtor”), submits this summary (this “Summary”) of fees and expenses sought as actual,

reasonable, and necessary in the fee application to which this Summary is attached (the “Fee

Application”)2 for the period from February 1, 2023 through May 31, 20233 (the “Interim

Compensation Period”).

         Burns Bair submits the Fee Application as an interim fee application in accordance with

the Order Authorizing Procedures for Interim Compensation and Reimbursement of Expenses of

Professionals dated November 4, 2020 [Docket No. 129] (the “Interim Compensation Order”).




1
  The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last for digits
of its federal tax identification number are 7437, and its mailing address is 50 North Park Avenue, P.O. Box 9023,
Rockville Centre, NY 11571-9023.
2
  Capitalized terms used but not otherwise defined in this Summary shall have the meanings ascribed to such terms in
the Application.
3
   The applicant reserves the right to include any time expended and expenses incurred in the period indicated above
in future application(s) if it is not included herein.



                                                         1
Name of Applicant:                                           Burns Bair LLP
Name of client:                                              Official Committee of Unsecured Creditors
Time period covered by this application:                     February 1, 2023 through May 31, 2023

Total compensation sought this period:                       $346,389.75

Total expenses sought this period:                           $7,618.93

Petition Date:                                               October 1, 2020
Retention Date:                                              Effective October 29, 2020
Date of order approving employment:                          December 9, 2020
Total compensation approved by interim orders to date: $1,629,083.00
Total expenses approved by interim orders to date:           $36,554.44
Blended rate in this application for all attorneys:          $638.50
Blended rate in this application for all timekeepers:        $633.25
Compensation sought in this application already
paid pursuant to a monthly compensation order                $155,848.00
but not yet allowed:
Expenses sought in this application already paid
pursuant to a monthly compensation order but not yet         $534.20
allowed:
Number of professionals included in this application         8
If applicable, number of professionals in this
application not included in staffing plan approved by        N/A
client:
If applicable, difference between fees budgeted
                                                             N/A
and compensation sought for this period:
Number of professionals billing fewer than 15 hours
                                                             3
to the case during this period:
Are any rates higher than those approved or disclosed
at retention? If yes, calculate and disclose the total
                                                        No.
compensation sought in this application using the rates
originally disclosed in the retention application:

                  This is a:       Monthly       x Interim         Final Application.




                                                      2
                    Monthly Fee Statements (Eighth Interim Fee Period)
                           February 1, 2023 through May 31, 2023

Date Filed          Period Covered        Requested     Requested     Approved     Approved
                                            Fees        Expenses        Fees       Expenses
March 30, 2023      February 1, 2023 –
[Dkt. 1967]         February 28, 2023     $66,481.50      $435.30     $53,185.20    $435.30
May 2, 2023         March 1, 2023 –
[Dkt. 2070]         March 31, 2023        $69,618.00        $0        $55,694.40       $0
May 31, 2023        April 1, 2023 –
[Dkt. 2126]         April 30, 2023        $58,710.50      $98.90      $46,968.40     $98.90
June 30, 2023       May 1, 2023 –
[Dkt. 2223]         May 31, 2023          $151,579.75    $7,084.73     Pending      Pending



                               Prior Interim Fee Applications

Date Filed          Period Covered       Requested      Requested    Approved      Approved
                                           Fees         Expenses       Fees        Expenses
March 17, 2021      October 1, 2020 –
                                         $175,221.50 $265.49         $173,471.50 $265.49
[Dkt. 411]          January 31, 2021
July 19, 2021       February 1, 2021 –
                                         $131,852.00 $1,366.80       $130,462.00 $1,366.80
[Dkt. 618]          May 31, 2021
November 15, 2021   June 1, 2021 –
[Dkt. 849]          September 30, 2021
                                         $80,481.00     $3,696.84    $80,481.00    $3,696.84
March 15, 2022      October 1, 2021 –
                                         $75,804.00     $1,078.25    $75,804.00    $1,078.25
[Dkt. 1011]         January 21, 2022
July 14, 2022       February 1, 2022 –
                                         $256,054.50 $11,902.49 $256,054.50 $11,902.49
[Dkt. 1198]         May 31, 2022
November 14, 2022   June 1, 2022 –
[Dkt. 1444]         September 30, 2022
                                         $497,990.75 $6,395.75       $497,990.75 $6,395.75
March 14, 2023      October 1, 2022 –
[Dkt. 1809]                              $411,679.25 $11,848.82 $411,679.25 $11,848.82
                    January 31, 2023




                                             3
               Summary of Compensation Requested by Project Category


Insurance Recovery Activities   Timekeeper                   Hours     Rate         Total
                                Timothy Burns                132.9    $975.00   $129,577.50
                                Jesse Bair                   211.70   $625.00   $132,312.50
                                Nathan Kuenzi                 35.4    $420.00    $14,868.00
                                Brian Cawley                  58.6    $420.00    $24,612.00
                                Leakhena Au                   50.4    $420.00    $21,168.00
                                Karen Dempski                  1.8    $360.00      $648.00
                                Alyssa Turgeon                 3.0    $360.00     $1,080.00
                                                    Total:   493.8              $324,266.00

Fee Statements /
                                Timekeeper                   Hours     Rate       Total
Fee Applications
                                Jesse Bair                    2.2     $625.00    $1375.00
                                Brenda Horn-Edwards           5.5     $360.00    $1,980.00
                                              Total:          7.7                $3,355.00

Non-Working Travel              Timekeeper                   Hours     Rate       Total
                                Timothy Burns                 26.0    $487.50   $12,675.00
                                Jesse Bair                    19.5    $312.50   $6,093.75
                                                    Total:    45.5              $18,768.75




                                                4
Dated: July 17, 2023   PACHULSKI STANG ZIEHL & JONES LLP


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                       -and-

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                       Counsel for the Official Committee of Unsecured Creditors
                       of The Roman Catholic Diocese
                       of Rockville Centre, New York


                       BURNS BAIR LLP


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                       Special Insurance Counsel for the Official Committee of
                       Unsecured Creditors of The Roman Catholic Diocese of
                       Rockville Centre, New York




                                5
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                         ) Case No. 20-12345 (MG)
                                                               )
THE ROMAN CATHOLIC DIOCESE OF                                  ) Chapter 11
ROCKVILLE CENTRE, NEW YORK,                                    )
                                                               )
                                   Debtor.4                    )
                                                               )

              EIGHTH INTERIM APPLICATION FOR ALLOWANCE OF
            COMPENSATION AND REIMBURSEMENT OF EXPENSES BY
               BURNS BAIR LLP AS SPECIAL INSURANCE COUNSEL
         FOR THE PERIOD FROM FEBRUARY 1, 2023 THROUGH MAY 31, 2023

         Burns Bair LLP (“Burns Bair” or the “Firm”), special insurance counsel to the Official

Committee of Unsecured Creditors (the “Committee”) of the Debtor in the above-captioned case

(the “Debtor”), hereby submits this eighth interim fee application (the “Fee Application”) for the

period from February 1, 2023 through May 31, 2023 (the “Interim Compensation Period”) in

accordance with the Order Authorizing Procedures for Interim Compensation and Reimbursement

of Expenses of Professionals dated November 4, 2020 [Docket No. 129] (the “Interim

Compensation Order”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), Rule 2016-1 of the Local Bankruptcy Rules for the Southern District of New York (the

“Local Rules”), the Amended Guidelines for Fees and Disbursements for Professionals in the

Southern District of New York Bankruptcy Cases, effective December 4, 2009 (together with the

“Local Rules”, the “Local Guidelines”), the United States Trustee Guidelines for Reviewing

Applications for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. §330,

effective January 31, 1996 (the “U.S. Trustee Guidelines”), and this Court’s Order Authorizing

and Approving The Official Committee of Unsecured Creditors’ Application to Retain and


4
 The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last for digits
of its federal tax identification number are 7437, and its mailing address is 50 North Park Avenue, P.O. Box 9023,
Rockville Centre, NY 11571-9023.



                                                         6
Employ Burns Bair LLP as Special Insurance Counsel Effective as of October 29, 2020 [Docket

No. 246]. Burns Bair requests compensation in the amount of $346,389.75 for fees on account of

reasonable and necessary professional services rendered to the Committee by Burns Bair during

the Interim Compensation Period and reimbursement of actual and necessary costs and expenses

in the amount of $7,618.93 incurred by Burns Bair during the Interim Compensation Period. In

support of this Fee Application, Burns Bair submits the declaration of Timothy W. Burns (the

“Burns Declaration”) attached hereto as Exhibit A and incorporated herein by reference. In

further support of the Application, Burns Bair respectfully represents as follows:

                                            Preliminary Statement

         1.       During the Interim Compensation Period, Burns Bair represented, advised, and

assisted the Committee in fulfilling its statutory obligations and duties to unsecured creditors and

rendered services to the Committee in accordance with its instructions and directions. By this Fee

Application, Burns Bair requests that the Court authorize the interim allowance and payment of

fees and expenses incurred by Burns Bair during the Interim Compensation Period in the total

amount of $354,008.68 as compensation for services rendered to the Committee.

         2.       To date, Burns Bair has been paid a total of $156,382.20, comprising

(a) compensation of $155,848.00, representing 80% of its fees incurred during the Interim

Compensation Period; and (b) reimbursement of $534.20, representing 100% of its actual and

necessary expenses incurred during the Interim Compensation Period.5 By this Fee Application,

Burns Bair seeks interim allowance and payment of all compensation for services rendered during

the Interim Compensation Period.



5
  These figures do not incorporate the amounts incurred for May time, which were included in Burns Bair’s monthly
fee submission filed on June 30, 2023, [Dkt. 2223]. As of the date of filing of this 8th Interim Application, Burns Bair
has not yet received payment for those amounts.



                                                           7
                                   Jurisdiction and Basis for Relief

       3.      This Court has jurisdiction to hear and determine this Fee Application pursuant to

28 U.S.C. §§ 157 and 1334. This matter is a core proceeding within the meaning of 28 U.S.C. §

157(b)(2). Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409. Sections

328(a), 330, and 1103(a) of the Bankruptcy Code and Bankruptcy Rule 2014 are the statutory

predicates for the relief sought by this Fee Application.

                                             Background

       4.      On October 1, 2020 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under chapter 11 of the Bankruptcy Code with the Bankruptcy Court for the Southern District

of New York. The Debtor is operating its business and managing its properties as debtor in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner

has been appointed in this case.

       5.      On October 16, 2020, the Office of the United States Trustee (the “UST”) appointed

the Committee pursuant to Section 1102 of the Bankruptcy Code. The Committee consists of nine

individuals who hold claims against the Debtor, including eight individuals who were sexually

abused as minors by perpetrators for whom the Debtor was responsible and one representative of

a minor with a civil rights claim against the Debtor.

A.     Burns Bair Retention

       6.      Following the Committee’s appointment, the Committee determined it needed

special insurance counsel and, subject to Court approval, hired Burns Bair on October 29, 2020.

       7.      On November 20, 2020, the Committee filed The Official Committee of Unsecured

Creditors’ Application to Retain and Employ Burns Bair LLP as Special Insurance Counsel

Effective as of October 29, 2020 (the “Retention Application”). As set forth in the Retention




                                                   8
Application, the Committee selected Burns Bair to provide the following services to the

Committee:

                       Analyzing, investigating, and assessing the availability of coverage under
                       the Diocese’s insurance policies;

                       Representing the Committee in the adversary proceeding the Diocese filed
                       against its insurers, Adv. Pro. No. 20-01227, The Roman Catholic Diocese
                       of Rockville Centre, New York v. Arrowood Indemnity Co. fka Royal
                       Insurance Co., et al.;

                       Engaging in potential mediation and/or other resolution of the claims,
                       demands, and/or lawsuits related to the Diocese’s insurance policies;

                       Advising, negotiating, and advocating on behalf of the Committee with
                       respect to the Diocese’s insurance policies; and;

                       Providing related advice and assistance to the Committee as necessary.

       8.      On December 9, 2020, the Court entered the Order Authorizing and Approving The

Official Committee of Unsecured Creditors’ Application to Retain and Employ Burns Bair LLP

as Special Insurance Counsel Effective as of October 29, 2020 [Docket 246] (the “Retention

Order”). The Retention Order provides that all compensation and reimbursement of costs and

expenses incurred during Burns Bair’s employment be paid only after appropriate application and

approval of this Court.

B.     Compensation Paid and Its Source

       9.      All services for which Burns Bair requests compensation were performed for or on

behalf of the Committee. Burns Bair has received no payment and no promises for payment from

any source other than the Debtor for services rendered or to be rendered in any capacity whatsoever

in connection with the matters covered by this Application.           There is no agreement or

understanding between Burns Bair and any other person other than the partners of Burns Bair for

the sharing of compensation to be received for services rendered in these cases. Burns Bair has

not received a retainer in these cases.



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C.     Monthly Fee Statements for the Interim Compensation Period

       10.     Burns Bair has filed and served the following monthly fee statements for the period

February 1, 2023 through May 31, 2023, pursuant to the Interim Compensation Order. To date,

no objections to the Prior Monthly Statements have been filed.

Date Filed            Period Covered        Requested      Requested Approved           Approved
                                            Fees           Expenses Fees                Expenses
March 30, 2023        February 1, 2023 –
                                            $66,481.50     $435.30       $53,185.20     $435.30
[Dkt. 1967]           February 28, 2023
May 2, 2023           March 1, 2023 –
                                            $69,618.00     $0            $55,694.40     $0
[Dkt. 2070]           March 31, 2023
May 31, 2023          April 1, 2023 –
                                            $58,710.50     $98.90        $46,968.40     $98.90
[Dkt. 2126]           April 30, 2023
June 30, 2023         May 1, 2023 –
                                            $151,579.75 $7,084.73        Pending        Pending
[Dkt. 2223]           May 31, 2023

       11.     The fees requested are reasonable, and all amounts requested were for actual and

necessary services rendered on behalf of the Committee.

                      Statement of Services Rendered and Time Expended

       12.     Exhibit B sets forth a timekeeper summary that includes the respective names,

positions, bar admissions, hourly billing rates and aggregate hours spent by each Burns Bair

professional and paraprofessional that provided services to the Committee during the Interim

Compensation Period. The rates charged by Burns Bair for services rendered to the Committee

are the same rates that Burns Bair charges generally for professional services rendered to its non-

bankruptcy clients.

       13.     Exhibit C sets forth a disbursement summary that includes the aggregate expenses,

organized by general disbursement categories, incurred by Burns Bair in connection with services

rendered to the Committee during the Interim Compensation Period.

       14.     Exhibit D sets forth a summary of compensation requested by project category.




                                                10
       15.     Exhibit E is a chart setting forth the Customary and Comparable Compensation

Disclosures.

       16.     Burns Bair’s invoices for the Interim Compensation Period were attached as

exhibits to the Prior Monthly Statements [Docket Nos. 1967, 2070, 2126, and 2223].

Services Rendered and Disbursements Incurred During the Interim Compensation Period

       17.     During the Interim Compensation Period, Burns Bair expended a considerable

number of hours on behalf of the Committee including, but not limited to, preparing for and

participating in multiple, in-person and telephonic mediation sessions; drafting      insurance

presentations for use during same; assisting in preparing the Committee’s mediation statement;

preparing for and deposing the Diocese’s preliminary injunction insurance witness; editing and

revising trial cross-examination outline for same; drafting revised insurance sections of the

Committee’s preliminary injunction opposition brief; analysis and work regarding preparations of

the Committee’s preliminary injunction insurance exhibits; continued analysis of the insurance

impacts, if any, of prosecution of each individual CVA action in connection with the Diocese’s

preliminary injunction motion; reviewing and analyzing the Diocese’s preliminary injunction

insurance document production; research regarding Section 3420 notice letters and drafting same

on behalf of the Committee to the Diocese’s insurers; research and analysis of insurance issues

concerning the Committee’s motion to dismiss, including editing and revising the Committee’s

motion to dismiss, a memorandum in connection with same, and the Committee’s responses to the

Diocese’s insurance-related motion to dismiss discovery requests; analysis regarding recent Boy

Scouts of America decision and assessing potential impact, if any, on insurance issues in the

DRVC case; continued analysis of the Diocese’s historical insurance program; presenting to the

Committee on insurance strategy; analysis and consideration of the insurance impacts, if any, of




                                               11
the Debtor’s claims objections and state court counsel’s responses to same; analysis of insurance

issues in connection with the Debtor’s proposed Plan; detailed research in connection with

insurance issues impacting the Committee Plan; drafting insurance sections of the Amended

Committee Plan and Disclosure Statement, including associated exhibits; work with the

Committee’s claim valuation experts on issues impacting individual insurer exposures and related

issues; detailed research and analysis of issues concerning Arrowood, including its financial

condition, claims handling practices, and potential regulatory and litigation options the Committee

may have to remedy same, including drafting of proposed complaint against Arrowood concerning

its unfair claims handling practices; correspondence and conferences with the Debtor’s insurance

counsel regarding various case insurance issues, including mediation and discovery issues in the

insurance district court actions; and formulating overall insurance strategy on behalf of the

Committee. These tasks are not meant to be a detailed description of all work performed.

       18.     In accordance with the factors enumerated in section 330 of the Bankruptcy Code,

it is respectfully submitted that the amount requested by Burns Bair is fair and reasonable given

(a) the complexity of the cases, (b) the time expended, (c) the nature and extent of the services

rendered, (d) the value of such services, and (e) the costs of comparable services other than in a

case under the Bankruptcy Code. Moreover, Burns Bair has reviewed the requirements of the

Local Rules, the Local Guidelines, and the Interim Compensation Order, and believes that this

Application complies with such rule and order.




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                   Actual and Necessary Expenses Incurred by Burns Bair

       19.     As summarized in Exhibit C attached hereto, Burns Bair has incurred a total of

$7,618.93 in expenses on behalf of the Committee during the Interim Compensation Period for

which it seeks reimbursement.

                                   Allowance of Compensation

       20.     Section 330(a)(1)(A) of the Bankruptcy Code provides that the Court may award

to a professional person, “reasonable compensation for actual, necessary services rendered.” 11

U.S.C. § 330(a)(1)(A). Section 330(a)(3)(A), in turn, provides that in determining the amount of

reasonable compensation to be awarded, the Court shall consider the nature, the extent, and the

value of such services, taking into account all relevant factors, including:

                               The time spent on such services;

                       The rates charges for such services;

                       Whether the services were necessary to the administration of, or beneficial
                       at the time which the service was rendered toward the completion of, a case
                       under this title;

                       Whether the services were performed within a reasonable amount of time
                       commensurate with the complexity, importance, and nature of the problem,
                       issue, or task addressed; and

                       Whether the compensation is reasonable based on the customary
                       compensation charged by comparably skilled practitioners in cases other
                       than cases under this title.

11 U.S.C. § 330(a)(3)(A).

       21.     The congressional policy expressed above provides for adequate compensation in

order to continue to attract qualified and competent professionals to bankruptcy cases. Burns Bair

respectfully submits that the consideration of these factors should result in this Court’s allowance

of the full compensation sought.




                                                 13
                                   Time and Labor Required

       22.     During the Interim Compensation Period, the Committee relied heavily on the

experience and expertise of Burns Bair when dealing with the matters described herein. As a

result, Burns Bair devoted significant time and effort to perform properly and expeditiously the

required professional services. During the Interim Compensation Period, Burns Bair expended

547 hours in providing the requested professional services. Burns Bair’s hourly billing rate is

based on Burns Bair’s normal billing rates for services of this kind and is competitive with other

advisory firms.

                               Necessity of Burns Bair’s Services

       23.     This bankruptcy case addresses issues that raise complex questions and require a

high level of skill and expertise to efficiently and accurately address. The professional services

described herein were performed by Burns Bair to, among other things, ensure that the Roman

Catholic Diocese of Rockville Centre, New York’s over 60 years of insurance policies, including

both primary and excess coverage, are fully available to compensate the sexual abuse survivors.

                          Experience and Ability of the Professionals

       24.     Burns Bair has extensive experience in complex insurance disputes and contested

issues, including coverage litigation, insurance class actions, counterparty disputes with insurers,

and domestic and international insurance arbitration. Additionally, Burns Bair has extensive

experience advising and working in concert with other attorneys to navigate discrete insurance

issues in the context of complex litigation proceedings. Burns Bair has successfully recovered

substantial insurance proceeds in other actions involving insurance disputes arising from sexual

abuse allegations involving Catholic dioceses.




                                                 14
                                      Reservation of Rights

       25.     It is possible that some professional time expended or expenses incurred by Burns

Bair during the Application Period are not reflected in this Application. Burns Bair reserves the

right to include such amounts in future fee applications.

                                               Notice

       26.     Pursuant to the Interim Compensation Order, Burns Bair has provided notice of this

Fee Application upon the following parties by electronic or first class mail: (a) the Debtor c/o The

Roman Catholic Diocese of Rockville Centre, 50 N Park Ave P.O. Box 9023, Rockville Centre,

NY 11571-9023 (Attn: Thomas Renker); (b) the attorneys for the Debtor, Jones Day, 250 Vesey

Street, New York, NY 10281 (Attn: Corinne Ball, Esq., Benjamin Rosenblum, Esq. and Andrew

M. Butler, Esq.); and (c) the Office of the United States Trustee Region 2 (the “U.S. Trustee”),

201 Varick Street, Suite 1006, New York, NY 10014 (Attn: Greg Zipes, Esq. and Shara Cornell,

Esq.). No other or further notice need be provided.

                                            Conclusion

       27.     Burns Bair respectfully requests that the Court enter an order, in the form attached

hereto, (a) granting the relief requested in this Fee Application; (b) allowing (i) Burns Bair interim

fees in the total amount of $346,389.75 for services rendered in the Chapter 11 cases, and (ii)

reimbursement of actual and necessary costs and expenses in the amount of $7,618.93 during the

Interim Compensation Period; (c) award and order to be paid to Burns Bair the balance of any such

fees that remain unpaid, after deducting interim payments already received by Burns Bair pursuant

to the Interim Compensation Order; and (d) granting such further relief as is just and proper.




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Dated:   July 17, 2023   PACHULSKI STANG ZIEHL & JONES LLP


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                         James I. Stang (admitted pro hac vice)
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                         Los Angeles, California 90067
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                         -and-

                         Ilan D. Scharf, Esq.
                         Karen B. Dine, Esq.
                         Brittany M. Michael, Esq.
                         780 Third Avenue, 36th Floor
                         New York, New York 10017
                         Telephone: (212) 561-7700
                         Facsimile: (212) 561-7777
                         Email: ischarf@pszjlaw.com
                                 kdine@pszjlaw.com
                                 bmichael@pszjlaw.com

                         Counsel for the Official Committee of Unsecured Creditors
                         of The Roman Catholic Diocese
                         of Rockville Centre, New York


                         BURNS BAIR LLP

                         /s/ Timothy W. Burns
                         Timothy W. Burns (admitted pro hac vice)
                         Jesse J. Bair (admitted pro hac vice)
                         10 E. Doty Street, Suite 600
                         Madison, Wisconsin 53703
                         Telephone: 608-286-2808
                         Email: tburns@burnsbair.com
                                  jbair@burnsbair.com
                         Special Insurance Counsel for the Official Committee of
                         Unsecured Creditors of The Roman Catholic Diocese of
                         Rockville Centre, New York




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         EXHIBIT A

Declaration of Timothy W. Burns
    PACHULSKI STANG ZIEHL & JONES LLP
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    Los Angeles, California 90067
    Telephone: (310) 277-6910
    Facsimile:     (310) 201-0760
    Email:         jstang@pszjlaw.com

    -and-

    Ilan D. Scharf, Esq.
    Karen B. Dine, Esq.
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    Telephone:     (212) 561-7700
    Facsimile:     (212) 561-7777
    Email:         ischarf@pszjlaw.com
                   kdine@pszjlaw.com
                   bmichael@pszjlaw.com

    Counsel for the Official Committee
    of Unsecured Creditors of The Roman
    Catholic Diocese
    of Rockville Centre, New York

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                          ) Case No. 20-12345 (MG)
                                                                )
THE ROMAN CATHOLIC DIOCESE OF                                   ) Chapter 11
ROCKVILLE CENTRE, NEW YORK,                                     )
                                                                )
                                    Debtor.1                    )
                                                                )

                 DECLARATION OF TIMOTHY W. BURNS IN SUPPORT OF
                 EIGHTH INTERIM APPLICATION FOR ALLOWANCE OF
               COMPENSATION AND REIMBURSEMENT OF EXPENSES BY
                  BURNS BAIR LLP AS SPECIAL INSURANCE COUNSEL
            FOR THE PERIOD FROM FEBRUARY 1, 2023 THROUGH MAY 31, 2023


1
 The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last for
digits of its federal tax identification number are 7437, and its mailing address is 50 North Park Avenue, P.O. Box
9023, Rockville Centre, NY 11571-9023.
       I, Timothy W. Burns, declare under penalty of perjury pursuant to 28 U.S.C. § 1746 and

pursuant to Rule 2016 of the Federal Rules of Bankruptcy Procedure and Rule 2016 of the Local

Rules for the Bankruptcy Court for the Southern District of New York that the following is true

and correct:

        i.     I am a partner with the law firm of Burns Bair LLP (“Burns Bair” or the “Firm”),

with offices located at 10 E. Doty Street, Suite 600, Madison, WI 53703. I am duly admitted to

practice law in, among other places, the States of Wisconsin, Illinois, and Missouri.

       ii.     I have personally reviewed the information contained in the Application and believe

its contents to be true and correct to the best of my knowledge, information, and belief. In addition,

I believe that the Application complies with the Local Rules for the Southern District of New York

and the Amended Guidelines for Fees and Disbursements for Professionals in Southern District of

New York Bankruptcy Cases.

      iii.     All services for which Burns Bair requests compensation were performed for or on

behalf of the Committee. Burns Bair has received no payment and no promises for payment from

any source other than the Debtor for services rendered or to be rendered in any capacity whatsoever

in connection with the matters covered by this Application.             There is no agreement or

understanding between Burns Bair and any other person other than the partners of Burns Bair for

the sharing of compensation to be received for services rendered in these cases. Burns Bair has

not received a retainer in these cases.

       iv.     Burns Bair makes the following disclosures pursuant to the Guidelines for

Reviewing Applications for Compensation and Reimbursement of Expenses Filed under 11 U.S.C.

§ 330 by Attorneys in Larger Chapter 11 Cases, effective November 1, 2013.
       v.      The Court authorized the Committee to retain Burns Bair as their special insurance

counsel in this chapter 11 case pursuant to the Order Authorizing and Approving The Official

Committee of Unsecured Creditors’ Application to Retain and Employ Burns Bair LLP as Special

Insurance Counsel Effective as of October 29, 2020 (the “Retention Order”) [Docket 246]. The

billing rates in this Application are those disclosed and approved at retention.

       vi.     Five professionals and three paraprofessionals are included in this Application. Of

those professionals, three billed fewer than 15 hours during the Interim Compensation Period.

      vii.     In accordance with the U.S. Trustee Guidelines, Burns Bair responds to the

questions identified therein as follows:

               Question 1: Did Burns Bair agree to any variations from, or alternatives to, Burns

               Bair’s standard or customary billing rates, fees or terms for services pertaining to

               this engagement that were provided during the application period? If so, please

               explain.

               Answer: Yes. I, Timothy W. Burns, agreed to reduce my hourly rate in

               this matter from my standard hourly rate of $1090 per hour to $975 per

               hour.

               Question 2: If the fees sought in the Application as compared to the fees budgeted

               for the time period covered by the Application are higher by 10% or more, did

               Burns Bair discuss the reasons for the variation with the client?

               Answer: N/A.

               Question 3: Have any of the professionals included in the Application varied their

               hourly rate based on geographic location of the bankruptcy case?

               Answer: No.
              Question 4: Does the Application include time or fees related to reviewing or

              revising time records or preparing, reviewing or revising invoices?

              Answer: Yes, a relatively small amount of time was incurred preparing and

              reviewing Burns Bair’s fee applications and associated exhibits, which included

              Burns Bair’s invoices. No amount of time was incurred preparing or revising

              invoices other than in connection with Burns Bair’s fee applications.

              Question 5: Does the Application include time or fees for reviewing time records

              to redact any privileged or other confidential information? If so, please quantify

              hours and fees.

              Answer: No.

              Question 6: Does the Application include any rate increases since Burns Bair’s

              retention in these cases?

              Answer: No.


       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.


Dated: July 17, 2023                                  /s/ Timothy W. Burns
                                                      Timothy W. Burns
   EXHIBIT B

Timekeeper Summary
                                     EXHIBIT B

                                 Timekeeper Summary

                                      Year of     Hourly    Total
                                                                          Total
    Professional         Title         Bar        Billing   Hours
                                                                       Compensation
                                     Admission     Rate     Billed
Timothy W. Burns        Partner        1991       $975.00    132.90      $129,577.50
Timothy W. Burns –                                                26      $12,675.00
                                                  $487.50
Travel Rate
Jesse J. Bair           Partner         2013      $625.00    213.90      $133,687.50
Jesse J. Bair –                                               19.50        $6,093.75
                                                  $312.50
Travel Rate
Brian P. Cawley        Associate        2020      $420.00     58.60       $24,612.00
Nathan M. Kuenzi       Associate        2020      $420.00     35.40       $14,868.00
Leakhena Au            Associate        2020      $420.00     50.40       $21,168.00
Alyssa Turgeon         Paralegal        N/A       $360.00      3.00        $1,080.00
Brenda Horn-Edwards    Paralegal        N/A       $360.00      5.50        $1,980.00
Karen Dempski          Paralegal        N/A       $360.00      1.80          $648.00
                                          Total              547.00      $346,389.75
          Average Billing Rate (Attorneys Only)   $522.86
 EXHIBIT C

Expense Summary
                                  EXHIBIT C

                               Expense Summary

Date        Expense                                                  Total Expenses
2/9/2023    Wisconsin Certificate of Good Standing, J. Bair                  $3.05
2/9/2023    Illinois Certificate of Good Standing, T. Burns                 $16.00
2/9/2023    Missouri Certificate of Good Standing, T. Burns                 $16.25
2/16/2023   Pro Hac Vice Admission, J. Bair                                $200.00
2/24/2023   Pro Hac Vice Admission, T. Burns                               $200.00
4/1/2023    First Quarter 2023 PACER                                        $98.90
5/9/2023    Taxi, J. Bair (airport to hotel)                                $83.29
5/9/2023    Hotel, T. Burns (1 night)                                      $644.21
5/9/2023    Travel meal, T. Burns                                           $10.82
5/9/2023    United Airlines, T. Burns (May 9-10, ORD-LGA)                  $374.70
5/9/2023    Hotel, J. Bair (1 night)                                       $485.46
5/9/2023    Travel meal, J. Bair                                            $16.33
5/9/2023    Delta Airlines, J. Bair (May 9-10, MSN-LGA)                    $269.70
5/9/2023    Delta Airlines WiFi, J. Bair                                     $9.95
5/10/2023   Delta Airlines WiFi, J. Bair                                    $15.95
5/10/2023   Travel meal, T. Burns                                           $36.30
5/10/2023   Travel meals, J. Bair                                           $20.73
5/10/2023   Airport parking, J. Bair                                        $20.00
5/16/2023   Westlaw, legal charges to obtain exhibits from
            Delaware Court in Arrowood mandamus                            $697.00
            action
5/18/2023   Taxi, J. Bair (airport to hotel)                                 $99.96
5/18/2023   Taxi, T. Burns (airport to hotel)                               $127.00
5/18/2023   United Airlines, T. Burns (May 18-19, MSN-EWR)                  $927.80
5/18/2023   Delta Airlines, J. Bair (May 18-19, MSN-LGA)                  $1,037.10
5/18/2023   Delta Airlines WiFi, J. Bair                                      $4.95
5/18/2023   United Airlines WiFi, T. Burns                                    $8.00
5/18/2023   Hotel, T. Burns (1 night)                                      $670.31
5/18/2023   Hotel, J. Bair (1 night)                                       $670.31
5/19/2023   Airport parking, J. Bair                                         $20.00
5/19/2023   Hotel, T. Burns (1 additional night)                            $670.31
5/19/2023   Uber, J. Bair (mediation to airport)                           $125.96
5/20/2023   United Airlines WiFi, T. Burns                                    $8.00
5/20/2023   Travel meal, T. Burns                                            $30.59
                                                            TOTAL:        $7,618.93
                    EXHIBIT D

Summary of Compensation Requested by Project Category
                                        EXHIBIT D

               Summary of Compensation Requested by Project Category


Insurance Recovery Activities   Timekeeper                Hours     Rate         Total
                                Timothy Burns             132.9    $975.00   $129,577.50
                                Jesse Bair                211.70   $625.00   $132,312.50
                                Nathan Kuenzi              35.4    $420.00    $14,868.00
                                Brian Cawley               58.6    $420.00    $24,612.00
                                Leakhena Au                50.4    $420.00    $21,168.00
                                Karen Dempski               1.8    $360.00      $648.00
                                Alyssa Turgeon              3.0    $360.00     $1,080.00
                                                 Total:   493.8              $324,266.00

Fee Statements /
                                Timekeeper                Hours     Rate       Total
Fee Applications
                                Jesse Bair                 2.2     $625.00    $1,375.00
                                Brenda Horn-Edwards        5.5     $360.00    $1,980.00
                                              Total:       7.7                $3,355.00

Non-Working Travel              Timekeeper                Hours     Rate       Total
                                Timothy Burns              26.0    $487.50   $12,675.00
                                Jesse Bair                 19.5    $312.50   $6,093.75
                                                 Total:    45.5              $18,768.75
     EXHIBIT E

Compensation Disclosures
                                                                    EXHIBIT E

                    CUSTOMARY AND COMPARABLE COMPENSATION DISCLOSURES WITH FEE APPLICATIONS

                                         (See Guidelines C.3. for definitions of terms used in this Exhibit.)


                                                                                                  BLENDED HOURLY RATE
                    CATEGORY OF TIMEKEEPER
                                                                                         BILLED                            BILLED
           (Using categories already maintained by the firm)
                                                                            Firm timekeepers for preceding           In this fee application
                                                                             year, excluding bankruptcy*
                    Sr./Equity Partner/Shareholder                                        $808.75                           $718.92
                    Of Counsel                                                              N/A                               N/A
                    Associate                                                             $420.00                           $420.00
                    Paralegal                                                             $360.00                           $360.00
                    Case Management Assistants                                              N/A                               N/A
                    All Timekeepers Aggregated                                            $550.45                           $633.25

* Represents approximate blended hourly rate for all firm timekeepers in non-bankruptcy cases for calendar year 2022. Please also note that
approximately 50% of Burns Bair’s hours for calendar year 2022 consisted of hours worked in contingent matters, meaning that Burns Bair tracked the
hours worked (and the corresponding hourly rate) but did not bill those hours to the client.


Case Name:            The Roman Catholic Diocese of Rockville Centre, New York
Case Number:          20-12345 (MG)
Applicant’s Name:     Burns Bair LLP
Date of Application: July 17, 2023
Interim or Final:     Interim
EXHIBIT F

 Invoices
                                       EXHIBIT F

                                       10 E. Doty St., Suite 600
                                     Madison, Wisconsin 53703-3392
                                             608-286-2302
                                          www.BurnsBair.com


The Official Committee of Unsecured Creditors of                          Issue Date :       3/21/2023
The Roman Catholic Diocese of Rockville Centre
                                                                                 Bill # :       01072



Matter: Insurance

                          PROFESSIONAL SERVICES RENDERED


Date      Timekeeper     Narrative                                                   Hours    Amount
2/1/2023 Leakhena Au     Supplemental analysis re additional insured entities        1.90      $798.00
                         under Ecclesia policies in connection with Plan issues
                         (1.9);
2/1/2023 Jesse Bair      Analyze Ecclesia other insured entities (.2); provide       0.50      $312.50
                         instructions to L. Au re additional analysis needed in
                         connection with same (.1); participate in call with B.
                         Michael re same (.2);
2/1/2023 Timothy Burns   Review correspondence between PSZJ and BB teams             0.20      $195.00
                         re Committee Plan exhibits (.2);
2/1/2023 Jesse Bair      Correspondence with Evanston and the Debtor re              0.10       $62.50
                         Committee reinstatement as a party in the Evanston
                         district court action (.1);
2/1/2023 Timothy Burns   Conference with L. Au re potential direct claims            0.10       $97.50
                         against the Diocese's insurers (.1);
2/1/2023 Jesse Bair      Review G. Greenwood correspondence re finalization          0.10       $62.50
                         of Committee preliminary injunction discovery
                         responses (.1);
2/1/2023 Jesse Bair      Participate in call with PSZJ team re Plan exhibits (.8);   0.80      $500.00
2/1/2023 Jesse Bair      Analyze and respond to state court counsel question re      0.20      $125.00
                         Debtor Plan insurance issues (.2);
2/1/2023 Jesse Bair      Draft amended version of the insurance policies Plan        0.60      $375.00
                         exhibit (.6);
2/1/2023 Jesse Bair      Review information re PSIP participants in connection       0.20      $125.00
                         with other insured entities analysis (.2);
2/1/2023 Timothy Burns   Review email from B. Michael re monthly operating           0.10       $97.50
                         report and related filings (.1);
2/1/2023 Leakhena Au     Continue analyzing case law re particular elements of       1.80      $756.00
                         potential direct claims against the Diocese's insurers
                         (1.8);
2/1/2023 Timothy Burns   Review correspondence between BB and opposing               0.20      $195.00
                         counsel re intervention in Evanston adversary
                         proceeding (.2);
2/1/2023 Jesse Bair      Review and edit revised version of the Amended            0.70   $437.50
                         Committee Plan (.7);
2/1/2023 Jesse Bair      Review the parties' joint sealing request re the Agreed   0.20   $125.00
                         Coverage Summary (.1); review correspondence with
                         the Debtor and Court re same (.1);
2/1/2023 Jesse Bair      Review revised version of the Committee Trust             0.30   $187.50
                         Agreement (.3);
2/2/2023 Jesse Bair      Participate in conference with T. Burns re insurance      0.20   $125.00
                         strategy and potential next-steps (.2);
2/2/2023 Jesse Bair      Review most recent iteration of the Committee             0.70   $437.50
                         amended Plan (.5); draft proposed additional
                         insurance language for inclusion in same (.2);
2/2/2023 Leakhena Au     Continue drafting memorandum re potential direct          2.00   $840.00
                         claims against the Diocese's insurers (2.0);
2/2/2023 Leakhena Au     Continue drafting revised version of memorandum re        0.90   $378.00
                         potential direct claims against the Diocese's insurers
                         (.9);
2/2/2023 Jesse Bair      Review Debtor information re SIRs for non-abuse           0.10    $62.50
                         claims (.1);
2/2/2023 Jesse Bair      Review revised version of the Committee Disclosure        0.50   $312.50
                         Statement (.5);
2/2/2023 Jesse Bair      Review agenda for upcoming state court counsel            0.10    $62.50
                         meeting (.1);
2/2/2023 Jesse Bair      Review correspondence with PSZJ and state court           0.10    $62.50
                         counsel re potential abuse claims reviewers (.1);
2/2/2023 Jesse Bair      Review correspondence with B. Michael re additional       0.10    $62.50
                         revised insurance language for Amended Committee
                         Plan (.1);
2/2/2023 Timothy Burns   Participate in conference with J. Bair re insurance       0.20   $195.00
                         strategy and potential next-steps (.2);
2/2/2023 Jesse Bair      Review revised version of Committee work-in-              0.10    $62.50
                         progress list (.1);
2/3/2023 Jesse Bair      Review the Diocese's preliminary injunction request for   0.10    $62.50
                         admission responses (.1);
2/3/2023 Jesse Bair      Review the Diocese's preliminary injunction requests      0.10    $62.50
                         for production responses (.1);
2/3/2023 Leakhena Au     Analysis re potential revisions to memorandum re          0.20    $84.00
                         potential direct claims against the Diocese's insurers
                         (.2);
2/3/2023 Jesse Bair      Review B. Michael correspondence to the Committee         0.10    $62.50
                         re the Committee's First Amended Plan and
                         Disclosure Statement (,1);
2/3/2023 Jesse Bair      Review Arrowood's amended answer, affirmative             0.70   $437.50
                         defenses, and counterclaim (.7);
2/3/2023 Timothy Burns   Review the Committee's amended disclosure                 0.40   $390.00
                         statement (.4);
2/3/2023 Jesse Bair      Review B. Michael correspondence re draft allocation      0.10    $62.50
                         protocols (.1);
2/3/2023 Jesse Bair      Review final version of the Committee's preliminary       0.10    $62.50
                         injunction discovery responses to the Diocese (.1);
2/3/2023 Jesse Bair       Review the Diocese's preliminary injunction               0.20    $125.00
                          interrogatory responses (.2);
2/3/2023   Jesse Bair     Review the Diocese's answer to Arrowood's amended         0.20    $125.00
                          counterclaim (.2);
2/3/2023   Jesse Bair     Review Order granting the parties' joint motion to seal   0.10     $62.50
                          and redacted Agreed Coverage Summary (.1);
2/3/2023   Timothy Burns Review correspondence between PSZJ and state               0.20    $195.00
                          court counsel re Committee plan disclosure issues
                          (.2);
2/3/2023   Jesse Bair     Participate in state court counsel meeting re ongoing     1.20    $750.00
                          case issues (1.2);
2/3/2023   Leakhena Au Continue analyzing factual information regarding             2.00    $840.00
                          potential direct claims against the Diocese's insurers
                          (2.0);
2/3/2023   Karen Dempski Download/upload recently produced Diocesan                 0.40    $144.00
                          discovery production (.4);
2/3/2023   Leakhena Au Continue analyzing legal issues in connection with           1.10    $462.00
                          potential direct claims against the Diocese's insurers
                          (1.1);
2/3/2023   Timothy Burns Review emails between PSZJ and BB re first                 0.20    $195.00
                          amended plan draft (.2);
2/3/2023   Timothy Burns Participate in state court counsel meeting re ongoing      1.20   $1,170.00
                          case issues (1.2);
2/3/2023   Timothy Burns Review correspondence from PSZJ to the Committee           0.10     $97.50
                          re amended disclosure statement (.1);
2/5/2023   Jesse Bair     Analyze and respond to K. Brown question re Diocese       0.20    $125.00
                          preliminary injunction responses re Arrowood (.2);
2/6/2023   Leakhena Au Continue analyzing factual information regarding             1.20    $504.00
                          potential direct claims against the Diocese's insurers
                          (1.2);
2/6/2023   Jesse Bair     Review the Diocese's omnibus objection to released        0.30    $187.50
                          or dismissed claims (.2); review associated Renker
                          declaration (.1);
2/6/2023   Leakhena Au Participate in internal BB team conference re                0.10     $42.00
                          assignments and case developments (.1);
2/6/2023   Nathan Kuenzi Participate in internal BB team conference re case         0.10     $42.00
                          status and associated research projects (.1);
2/6/2023   Nathan Kuenzi Analyze POC information in connection with ongoing         0.40    $168.00
                          case insurance issues (.4);
2/6/2023   Timothy Burns Participate in internal BB team conference re              0.10     $97.50
                          assignments and case developments (.1);
2/6/2023   Brian Cawley Participate in team meeting regarding case status and       0.10     $42.00
                          assignments (.1);
2/6/2023   Alyssa Turgeon Participate in internal BB team conference re case        0.10     $36.00
                          status and associated research projects (.1);
2/6/2023   Leakhena Au Continue analyzing legal issues in connection with           1.10    $462.00
                          potential direct claims against the Diocese's insurers
                          (1.1);
2/6/2023   Jesse Bair     Participate in internal BB team conference re case        0.10     $62.50
                          status and associated research projects (.1);
2/6/2023 Jesse Bair    Review the Debtor's omnibus objection to duplicate or      0.20   $125.00
                       amended claims (.2);
2/7/2023 Timothy Burns Review claim withdrawal filed by particular state court    0.10    $97.50
                       counsel.1);
2/7/2023 Jesse Bair    Correspondence with Evanston re Committee                  0.10    $62.50
                       reinstatement as a party in the Evanston district court
                       action (.1);
2/7/2023 Leakhena Au Continue analyzing factual information regarding             2.00   $840.00
                       potential direct claims against the Diocese's insurers
                       (2.0);
2/7/2023 Timothy Burns Review emails between BB and PSZJ re preliminary           0.10    $97.50
                       injunction opposition brief edits (.1);
2/7/2023 Jesse Bair    Provide instructions to B. Horn re preparing draft of      0.10    $62.50
                       BB's seventh interim fee application (.1);
2/7/2023 Jesse Bair    Review correspondence with B. Michael and the              0.10    $62.50
                       Committee re potential Department of Education
                       counter (.1);
2/7/2023 Jesse Bair    Review correspondence from the Court and K. Brown          0.10    $62.50
                       re February 21 Plan-related status conference (.1);
2/7/2023 Timothy Burns Review PSIP monthly information received from the          0.10    $97.50
                       Diocese (.1);
2/7/2023 Timothy Burns Review correspondence from B. Michael to                   0.10    $97.50
                       Committee re DOE settlement discussions (.1);
2/7/2023 Leakhena Au Draft revised memorandum re potential direct                 1.80   $756.00
                       claims against the Diocese's insurers in light of
                       supplemental research results (1.8);
2/7/2023 Jesse Bair    Review debtor monthly PSIP information (.1);               0.10    $62.50
2/7/2023 Leakhena Au Review insurer coverage position letters in connection       1.00   $420.00
                       with potential direct claims against the Diocese's
                       insurers (1.0);
2/8/2023 Jesse Bair    Correspondence with Evanston re Committee                  0.10    $62.50
                       reinstatement as a party in the Evanston district court
                       action (.1);
2/8/2023 Nathan Kuenzi Begin supplemental analysis re the impact, if any, of      2.20   $924.00
                       prosecution of particular state court actions in
                       connection with preliminary injunction briefing (2.2);
2/8/2023 Jesse Bair    Review notice of hearing re February 21 status             0.10    $62.50
                       conference (.1);
2/8/2023 Nathan Kuenzi Participate in conference with J. Bair re preliminary      0.20    $84.00
                       injunction state court action insurance impacts, if any,
                       and supplemental analysis needed in connection with
                       same (.2);
2/8/2023 Jesse Bair    Draft proposed stipulation and Order reinstating the       0.40   $250.00
                       Committee as a party in the Evanston district court
                       action (.3); correspondence with PSZJ team re same
                       (.1);
2/8/2023 Jesse Bair     Review and respond to correspondence with G.               0.40    $250.00
                        Greenwood re preliminary injunction state court action
                        insurance impacts (.2); participate in conference with
                        N. Kuenzi re supplemental analysis needed in
                        connection with same (.2);
2/9/2023 Jesse Bair     Review and respond to correspondence with I. Nasatir       0.20    $125.00
                        and K. Brown re upcoming preliminary injunction
                        depositions (.2);
2/9/2023 Jesse Bair     Review correspondence from B. Michael re the               0.10     $62.50
                        Diocese's most recent round of claim objections (.1);
2/9/2023 Nathan Kuenzi Continue supplemental analysis re the impact, if any, of    1.90    $798.00
                        prosecution of particular state court actions in
                        connection with preliminary injunction briefing (1.9);
2/9/2023 Jesse Bair     Review portion of the Diocese's recent preliminary         0.10     $62.50
                        injunction document production (.1);
2/9/2023 Jesse Bair     Correspondence with Evanston and the Debtor re draft       0.10     $62.50
                        stipulation and Order reinstating the Committee as a
                        party in the Evanston district court action (.1);
2/9/2023 Karen Dempski Draft pro hac vice submissions for T. Burns and J. Bair     0.80    $288.00
                        in the Evanston district court action (.8);
2/9/2023 Jesse Bair     Review agenda for upcoming state court counsel             0.10     $62.50
                        meeting (.1);
2/10/2023 Nathan Kuenzi Continue supplemental analysis re the impact, if any, of   3.00   $1,260.00
                        prosecution of particular state court actions in
                        connection with preliminary injunction briefing (3.0);
2/10/2023 Jesse Bair    Review correspondence with K. Brown and the                0.10     $62.50
                        Diocese re upcoming preliminary injunction
                        depositions (.1);
2/11/2023 Timothy Burns Review recent NY court decision on negligent retention     0.30    $292.50
                        and supervision claims re sexual abuse (.3);
2/11/2023 Timothy Burns Review email between B. Michael and state court            0.10     $97.50
                        counsel re preliminary injunction briefing issues (.1);
2/11/2023 Timothy Burns Review debtor's fifth omnibus objection and supporting     0.20    $195.00
                        declaration (.2);
2/11/2023 Timothy Burns Review Cemetery tolling stipulation and notice (.1);       0.10     $97.50
2/11/2023 Timothy Burns Review correspondence from E. Stephens re                  0.10     $97.50
                        preliminary injunction deposition scheduling and topics
                        of diocesan witnesses (.1);
2/11/2023 Timothy Burns Review correspondence between PSZJ and BB re               0.20    $195.00
                        claims objections (.2);
2/11/2023 Timothy Burns Review draft claims objection response (.1);               0.10     $97.50
2/11/2023 Timothy Burns Review email from B. Michael re claims objections          0.10     $97.50
                        procedures (.1);
2/11/2023 Timothy Burns Review correspondence between PSZJ and state               0.10     $97.50
                        court counsel re potential plan trustees (.1);
2/12/2023 Jesse Bair    Correspondence with I. Nasatir and B. Michael re           0.20    $125.00
                        insurance impacts, if any, of certain Diocese claims
                        objections (.1); correspondence with T. Burns re same
                        (.1);
2/12/2023 Jesse Bair      Analysis re strategy for upcoming insurance-related           0.20    $125.00
                          preliminary injunction depositions (.2);
2/12/2023 Jesse Bair      Review first amended stipulated tolling agreements            0.10     $62.50
                          with the DOE, Seminary, and Gemco (.1);
2/12/2023 Jesse Bair      Review the Diocese's fifth omnibus claims objection           0.30    $187.50
                          (.2); review Renker declaration in support of same (.1);
2/12/2023 Jesse Bair      Analysis re insurer information in connection with claim      0.60    $375.00
                          objection issues (.5); correspondence with B. Michael
                          re same (.1);
2/12/2023 Jesse Bair      Review correspondence from the Committee re                   0.10     $62.50
                          ongoing case issues (.1);
2/13/2023 Jesse Bair      Conference with T. Burns re insurance impacts, if any,        0.20    $125.00
                          of certain Diocese claims objections (.2);
2/13/2023 Timothy Burns   Participate in call with J. Bair re insurance impacts, if     0.20    $195.00
                          any, of certain Diocese claims objections (.2);
2/13/2023 Jesse Bair      Review email summary from N. Kuenzi re                        0.50    $312.50
                          supplemental analysis of CVA action insurance
                          impacts (.1); participate in conference with N. Kuenzi
                          re same and additional analysis needed in connection
                          with the Committee's preliminary injunction opposition
                          brief (.4);
2/13/2023 Jesse Bair      Review agenda for upcoming Committee meeting (.1);            0.10      $62.50
2/13/2023 Nathan Kuenzi   Additional analysis re the impact, if any, of prosecution     4.80   $2,016.00
                          of particular state court actions in connection with
                          preliminary injunction briefing (4.8);
2/13/2023 Jesse Bair      Review correspondence with state court counsel re             0.10     $62.50
                          future claim issues (.1);
2/13/2023 Nathan Kuenzi   Prepare for meeting with J. Bair (.1); participate in         0.50    $210.00
                          conference with J. Bair re additional analysis needed
                          in connection with the Committee's preliminary
                          injunction opposition brief (.4);
2/14/2023 Jesse Bair      Participate in call with N. Kuenzi re results of              0.10     $62.50
                          supplemental analysis re insurance impact, if any, of
                          litigation of particular state court actions again non-
                          debtor co-defendants (.1);
2/14/2023 Timothy Burns   Participate in portion of Committee meeting re plan           0.60    $585.00
                          issues (.6);
2/14/2023 Nathan Kuenzi   Finalize supplemental analysis re the impact, if any, of      4.50   $1,890.00
                          prosecution of particular state court actions in
                          connection with preliminary injunction briefing (4.5);
2/14/2023 Jesse Bair      Analyze email memorandum from N. Kuenzi re                    0.20    $125.00
                          supplemental analysis re insurance impact, if any, of
                          litigation of particular state court actions again non-
                          debtor co-defendants (.2);
2/14/2023 Nathan Kuenzi   Prepare for meeting with J. Bair (.1); participate in         0.20     $84.00
                          conference with J. Bair re supplemental analysis re
                          insurance impact, if any, of litigation of particular state
                          court actions again non-debtor co-defendants (.1);
2/14/2023 Jesse Bair      Participate in portion of Committee meeting re                0.20    $125.00
                          ongoing Plan issues (.2);
2/14/2023 Jesse Bair    Review and edit proposed stipulation and order               0.10    $62.50
                        reinstating the Committee as a party in the Evanston
                        district court action (.1);
2/14/2023 Jesse Bair    Draft letter to the Court regarding the Committee's          0.50   $312.50
                        reinstatement as party in the Evanston district court
                        action (.4); correspondence with the Debtor and
                        Evanston re same (.1);
2/14/2023 Jesse Bair    Additional analysis re the insurance impact, if any, of      0.50   $312.50
                        litigation of particular state court actions again non-
                        debtor co-defendants (.2); draft correspondence to G.
                        Greenwood summarizing findings re same (.3);
2/14/2023 Jesse Bair    Review and edit draft pro hac vice submissions in the        0.10    $62.50
                        Evanston district court action (.1);
2/14/2023 Jesse Bair    Review correspondence with state court counsel re            0.10    $62.50
                        future claim issues (.1);
2/15/2023 Timothy Burns Participate in call with J. Bair re preliminary injunction   0.20   $195.00
                        hearing and related deposition strategy (.2);
2/15/2023 Jesse Bair    Participate in conference with G. Greenwood re               0.30   $187.50
                        preliminary injunction insurance issues (.2); review
                        follow-up correspondence with G. Greenwood re same
                        (.1);
2/15/2023 Jesse Bair    Correspondence with PSZJ re upcoming preliminary             0.40   $250.00
                        injunction depositions (.2); participate in call with T.
                        Burns re preliminary injunction hearing and related
                        deposition strategy (.2);
2/15/2023 Jesse Bair    Review B. Michael correspondence re February 21              0.10    $62.50
                        Plan-related status conference (.1);
2/15/2023 Jesse Bair    Review recent appellate decision re insurer lack of          0.50   $312.50
                        standing to object to post-confirmation litigation trust
                        (.5);
2/15/2023 Timothy Burns Brief review of recent appellate decision re insurance       0.20   $195.00
                        neutrality of Plan issues (.2);
2/16/2023 Jesse Bair    Review Committee draft deposition notices to Porter,         0.10    $62.50
                        Moore, and Stephens (.1);
2/16/2023 Brenda Horn   Draft BB monthly fee statement (.6); generate and edit       0.80   $288.00
                        Exhibit A to same (.1); correspond with J. Bair re same
                        (.1);
2/16/2023 Brenda Horn   Draft BB seventh interim fee application (1.2), revise       2.30   $828.00
                        declaration of T. Burns re same (.2); draft related
                        exhibits (.8); correspond with J. Bair re same (.1);
2/16/2023 Karen Dempski Finalize and file pro hac vice submissions in Evanston       0.30   $108.00
                        district court action (.2); email J. Bair re same (.1);
2/16/2023 Jesse Bair    Participate in state court counsel meeting re Plan and       1.00   $625.00
                        other ongoing case issues (1.0);
2/16/2023 Jesse Bair    Correspondence with Evanston and the Diocese re              0.20   $125.00
                        finalization of Committee reinstatement stipulation and
                        letter to the Court (.1); correspondence with K.
                        Dempski re finalizing and filing same and J. Bair pro
                        hac vice materials (.1);
2/16/2023 Jesse Bair      Review the Diocese's amended complaint in the LMI           0.40   $250.00
                          district court action (.3); review LMI and Interstate's
                          motions for extension to respond to same (.1);
2/16/2023 Jesse Bair      Correspondence with B. Horn re BB's seventh interim         0.10    $62.50
                          fee application (.1);
2/16/2023 Jesse Bair      Review materials re recent Diocesan insurance               0.20   $125.00
                          activities (.2);
2/16/2023 Jesse Bair      Participate in weekly conference with PSZJ team re          0.90   $562.50
                          case strategy and ongoing litigation tasks (.9);
2/17/2023 Jesse Bair      Review the Committee's motion to amend the claim            0.20   $125.00
                          objection procedures and notice of hearing re same
                          (.2);
2/17/2023 Jesse Bair      Review various correspondence with B. Michael and           0.20   $125.00
                          state court counsel re future claim and Plan issues (.2);
2/18/2023 Timothy Burns   Review correspondence between PSZJ and state                0.20   $195.00
                          court counsel re future claims representative issues
                          (.2);
2/19/2023 Jesse Bair      Review correspondence with B. Michael and the               0.10    $62.50
                          Committee re future claim issues (.1);
2/20/2023 Jesse Bair      Review B. Michael correspondence re claim objection         0.10    $62.50
                          issues (.1);
2/20/2023 Jesse Bair      Review correspondence with B. Michael and state             0.10    $62.50
                          court counsel re future claim and Plan issues (.1);
2/20/2023 Jesse Bair      Analyze recent New York decision re negligent               0.40   $250.00
                          supervision liability for sexual abuse claims (.4).
2/21/2023 Jesse Bair      Review agenda for upcoming Committee meeting (.1);          0.10    $62.50
2/21/2023 Jesse Bair      Participate in portion of Committee meeting re              0.50   $312.50
                          ongoing case issues (.5);
2/21/2023 Jesse Bair      Review Order granting LMI and Lexington's motion for        0.10    $62.50
                          extension of time to respond to the Diocese's
                          amended complaint (.1);
2/21/2023 Timothy Burns   Participate in portion of Committee meeting re              0.70   $682.50
                          ongoing case issues (.7);
2/21/2023 Jesse Bair      Attend court status hearing re competing Plans (.7);        0.80   $500.00
                          participate in post-hearing conference with T. Burns re
                          outcome of same and potential next-steps (.1);
2/21/2023 Timothy Burns   Attend court status hearing re competing Plans (.7);        0.80   $780.00
                          participate in post-hearing conference with J. Bair re
                          outcome of same and potential next-steps (.1);
2/21/2023 Jesse Bair      Review Diocese letter re IRCP document production           0.10    $62.50
                          (.1);
2/21/2023 Jesse Bair      Review the Diocese's sixth omnibus claims objection         0.30   $187.50
                          (.2); review Renker declaration in support of same (.1);
2/21/2023 Jesse Bair      Review final version of Committee preliminary               0.10    $62.50
                          injunction deposition notices served on the Diocese
                          (.1);
2/22/2023 Jesse Bair      Review most recent version of the Committee's work-         0.10    $62.50
                          in-progress litigation task list (.1);
2/22/2023 Jesse Bair      Review the Diocese's seventh omnibus claims                 0.10    $62.50
                          objection (.1);
2/22/2023 Jesse Bair      Review correspondence with PSZJ and state court              0.20    $125.00
                          counsel re call to discuss potential judicial mediator
                          (.1); review information re the Diocese's suggested
                          candidate for judicial mediator (.1);
2/22/2023 Jesse Bair      Review and edit initial draft of the Committee's first       0.90    $562.50
                          omnibus objection to affiliate claims (.6); review J.
                          Elkins edits to same (.1); review J. Stang edits to
                          same (.1); review additional correspondence with
                          PSZJ re potential edits to same (.1);
2/23/2023 Jesse Bair      Review correspondence with the Debtor and PSZJ re            0.10     $62.50
                          potential judicial mediators (.1);
2/23/2023 Jesse Bair      Begin reviewing survivor response to the Diocese's           0.30    $187.50
                          fourth omnibus claims objection (.3);
2/23/2023 Jesse Bair      Review correspondence with G. Greenwood and K.               0.10     $62.50
                          Brown re DOE settlement status (.1);
2/23/2023 Timothy Burns   Brief review re the Diocese's sixth omnibus claims           0.20    $195.00
                          objection (.1); brief review re the Diocese's seventh
                          omnibus claims objection (.1);
2/23/2023 Jesse Bair      Participate in conference with PSZJ re work in               1.80   $1,125.00
                          progress issues and mediation strategy (1.8);
2/23/2023 Jesse Bair      Brief review re recent Diocese preliminary injunction        0.10     $62.50
                          document production (.1);
2/23/2023 Jesse Bair      Review Order reinstating the Committee as a party to         0.10     $62.50
                          the Evanston district court action and correspond with
                          PSZJ re same (.1);
2/23/2023 Jesse Bair      Prepare for state court counsel meeting re judicial          0.70    $437.50
                          mediator issues (.1); participate in state court counsel
                          meeting re same (.6);
2/23/2023 Timothy Burns   Review the Committee's draft affiliate claims objection      0.40    $390.00
                          motion (.4);
2/23/2023 Timothy Burns   Review email from B. Michael re mediator selection           0.10     $97.50
                          issues (.1);
2/24/2023 Timothy Burns   Review Committee reinstatement order in Evanston             0.10     $97.50
                          district court action (.1);
2/24/2023 Jesse Bair      Analyze proposed preliminary injunction insurance            1.10    $687.50
                          exhibits (.4); correspondence with G. Greenwood re
                          potential edits to same (.2); review revised versions of
                          preliminary injunction insurance exhibits (.3); additional
                          correspondence with G. Greenwood re same (.1);
                          review draft correspondence from G. Greenwood to
                          the Diocese re same (.1);
2/24/2023 Jesse Bair      Review correspondence with state court counsel and           0.20    $125.00
                          K. Dine re judicial mediator issues (.2);
2/24/2023 Timothy Burns   Email to J. Bair re insurance analysis assignment (.1);      0.10     $97.50
2/24/2023 Jesse Bair      Participate in conference with T. Burns re judicial          0.10     $62.50
                          mediator selection issues (.1);
2/24/2023 Timothy Burns   Review correspondence from G. Greenwood re                   0.10     $97.50
                          preliminary injunction exhibits (.1);
2/24/2023 Timothy Burns   Review correspondence from PSZJ re mediator                  0.10     $97.50
                          selection (.1);
2/24/2023 Timothy Burns Prepare for state court counsel meeting (.1);                0.80   $780.00
                        Participate in state court counsel meeting re mediation
                        issues (.6); participate in post-call with PSZJ and J.
                        Bair re outcome of state court counsel meeting and
                        next-steps (.1);
2/24/2023 Jesse Bair    Participate in state court counsel meeting re mediation      0.70   $437.50
                        issues (.6); participate in post-call with PSZJ and T.
                        Burns re outcome of state court counsel meeting and
                        next-steps (.1);
2/24/2023 Timothy Burns Initial review of Merson plaintiffs' opposition to           0.80   $780.00
                        Diocese's fourth omnibus claim objection (.8);
2/24/2023 Timothy Burns Review pro hac vice submission in Evanston district          0.10    $97.50
                        court action (.1);
2/24/2023 Karen Dempski Finalize and file pro hac vice submission for T. Burns in    0.20    $72.00
                        Evanston district court action (.2);
2/24/2023 Timothy Burns Review correspondence from state court counsel re            0.20   $195.00
                        mediator selection issues (.2);
2/24/2023 Timothy Burns Additional analysis re mediator selection issue (.1);        0.10    $97.50
2/24/2023 Timothy Burns Review correspondence from K. Brown re DOE                   0.10    $97.50
                        negotiation status (.1);
2/24/2023 Jesse Bair    Continue reviewing survivor response to the Diocese's        0.60   $375.00
                        fourth omnibus claims objection and related exhibits
                        (.3); correspondence with T. Burns re associate
                        research project re potential insurance impact, if any,
                        of claim objection issues (.1); provide instructions to B.
                        Cawley re same (.2);
2/24/2023 Timothy Burns Review correspondence from G. Greenwood re DOE               0.10    $97.50
                        negotiations (.1);
2/24/2023 Jesse Bair    Review correspondence with state court counsel re            0.10    $62.50
                        potential judicial mediator (.1);
2/24/2023 Brian Cawley Conference with J. Bair re potential insurance impact,        0.80   $336.00
                        if any, of claim objection issues (.2); conduct
                        supplemental research on New York
                        expected/intended and late notice law (.6);
2/25/2023 Timothy Burns Review correspondence from G. Greenwood to Jones             0.10    $97.50
                        Day re preliminary injunction hearing exhibits (.1);
2/25/2023 Jesse Bair    Review PSZJ memo re case next-steps re Plan and              0.10    $62.50
                        Disclosure Statement process (.1);
2/25/2023 Leakhena Au Analysis re insurance assignment issues (.2);                  0.20    $84.00
2/25/2023 Jesse Bair    Review PSZJ memo re status of FCC and cell tower             0.10    $62.50
                        sales (.1);
2/25/2023 Jesse Bair    Review correspondence with PSZJ and state court              0.10    $62.50
                        counsel re preliminary injunction issues and next-steps
                        with case litigation (.1);
2/25/2023 Jesse Bair    Review PSZJ letter to the Diocese re cell tower bid          0.10    $62.50
                        issues (.1);
2/25/2023 Timothy Burns Review draft stipulation re preliminary injunction           0.20   $195.00
                        evidence (.1); review related correspondence with G.
                        Greenwood re same (.1);
2/26/2023 Timothy Burns   Review and suggest revisions to draft opposition to PI      4.10   $3,997.50
                          Motion, along with review of case law related to
                          jurisdictional and merits aspects of motion (4.1);
2/26/2023 Jesse Bair      Review T. Burns correspondence re potential                 0.10     $62.50
                          insurance addition to the Committee's preliminary
                          injunction opposition brief (.1);
2/26/2023 Jesse Bair      Review additional correspondence with PSZJ and              0.10     $62.50
                          state court counsel re preliminary injunction issues and
                          next-steps with case litigation (.1);
2/27/2023 Jesse Bair      Review information regarding the Diocese's most             0.20    $125.00
                          recent suggestion for a judicial mediator (.1); review
                          correspondence with PSZJ and state court counsel re
                          same (.1);
2/27/2023 Timothy Burns   Further review of case law regarding preliminary            7.90   $7,702.50
                          injunction issues, including jurisdiction and automatic
                          stay issues (3.2); review of cases and analysis re SIR
                          issues, if any, for Committee plan analysis purposes
                          (.9); review of case law re cooperation duties re Plan
                          issues (1.6); analyze case law re good faith
                          requirement and TDPs re Committee plan issues
                          (2.2);
2/27/2023 Jesse Bair      Review draft outline for deposition of C. Moore (.4);       0.50    $312.50
                          review correspondence with J. Stang and state court
                          counsel re same (.1);
2/27/2023 Brian Cawley    Continue analyzing late notice and expected/intended        2.80   $1,176.00
                          issues under N.Y. law (1.3); analyze claim objection
                          briefing in connection with impact, if any, on insurer
                          coverage defenses (1.5);
2/27/2023 Jesse Bair      Correspondence with B. Michael re additional insured        0.10     $62.50
                          questions (.1);
2/27/2023 Jesse Bair      Review draft stipulation regarding the admissibility of     0.20    $125.00
                          certain proposed preliminary injunction exhibits (.1);
                          related analysis re additional potential insurance policy
                          exhibits (.1);
2/27/2023 Jesse Bair      Review revised draft of the Committee's first omnibus       0.30    $187.50
                          objection to parish POCs (.3);
2/28/2023 Jesse Bair      Participate in conference with T. Burns re preparations     0.10     $62.50
                          and strategy re upcoming Porter deposition (.1);
2/28/2023 Jesse Bair      Participate in conference with I. Nasatir re insurance      0.20    $125.00
                          Plan issues (.2);
2/28/2023 Jesse Bair      Review correspondence with B. Michael and state             0.10     $62.50
                          court counsel re judicial mediator issues (.1);
2/28/2023 Jesse Bair      Participate in additional conference with I. Nasatir re     0.20    $125.00
                          insurance mediation issues (.2);
2/28/2023 Jesse Bair      Review correspondence with B. Michael and the               0.10     $62.50
                          Committee re case update (.1);
2/28/2023 Timothy Burns   Further review of cases re good faith requirement and       4.00    $3,900.00
                          TDPs re UCC plan issues (3.7); review
                          correspondence between PSZJ and state court
                          counsel re potential judicial mediators and bio
                          materials (.2); review PSZJ update correspondence to
                          the Committee and state court counsel re ongoing
                          case developments (.1);
2/28/2023 Jesse Bair      Participate in conference with PSZJ and state court         0.90     $562.50
                          counsel re judicial mediator selection, preliminary
                          injunction briefing, and other ongoing litigation issues
                          (.8); participate in post-call with PSZJ re outcome of
                          meeting and next-steps (.1);
2/28/2023 Brian Cawley    Continue analyzing claim objection briefing in              1.70     $714.00
                          connection with impact, if any, on insurer coverage
                          defenses (.5 ); draft email memorandum summarizing
                          claim objection analysis results (1.2);
2/28/2023 Jesse Bair      Review LMI and the Diocese's joint status letter to         0.10       $62.50
                          Judge Cronan (.1);
Total Hours and Fees                                                                 106.50 $66,481.50

                                            EXPENSES


Date                      Description                                                          Amount
2/9/2023                  Wisconsin Certificate of Good Standing, J. Bair                        $3.05
2/9/2023                  Illinois Certificate of Good Standing, T. Burns                       $16.00
2/9/2023                  Missouri Certificate of Good Standing, T. Burns                       $16.25
2/16/2023                 Pro Hac Vice admission, J. Bair                                      $200.00
2/24/2023                 Pro Hac Vice admission,T. Burns                                      $200.00
Total Expenses                                                                                 $435.30


                                      Timekeeper Summary
Name                                          Hours                  Rate                      Amount
Alyssa Turgeon                                  0.10              $360.00                       $36.00
Brenda Horn                                     3.10              $360.00                     $1,116.00
Brian Cawley                                    5.40              $420.00                     $2,268.00
Jesse Bair                                     33.90              $625.00                    $21,187.50
Karen Dempski                                   1.70              $360.00                      $612.00
Leakhena Au                                    17.30              $420.00                     $7,266.00
Nathan Kuenzi                                  17.80              $420.00                     $7,476.00
Timothy Burns                                  27.20              $975.00                    $26,520.00



                                                                  Total Due This Invoice: $66,916.80
                                       10 E. Doty St., Suite 600
                                     Madison, Wisconsin 53703-3392
                                             608-286-2302
                                          www.BurnsBair.com


The Official Committee of Unsecured Creditors of The                   Issue Date :      4/4/2023
Roman Catholic Diocese of Rockville Centre
                                                                             Bill # :      01099



Matter: Insurance

                            PROFESSIONAL SERVICES RENDERED


Date      Timekeeper     Narrative                                               Hours    Amount
3/1/2023 Jesse Bair    Review G. Greenwood correspondence with Diocese           0.10      $62.50
                       re proposed insurance preliminary injunction exhibits
                       (.1);
3/1/2023 Jesse Bair    Review recent New York state court decision re notice     0.30     $187.50
                       under the CVA (.2); review correspondence with PSZJ
                       re same (.1);
3/1/2023 Jesse Bair    Review correspondence with PSZJ and state court           0.10      $62.50
                       counsel re judicial mediator selection (.1);
3/1/2023 Jesse Bair    Listen to and respond to voice-message from Reed          0.10      $62.50
                       Smith re LMI district court action (.1);
3/1/2023 Jesse Bair    Review the Diocese's eighth omnibus claims objection      0.40     $250.00
                       (.4);
3/1/2023 Timothy Burns Review correspondence with PSZJ and state court           1.10    $1,072.50
                       counsel re potential mediation session (.2); review the
                       Diocese's eighth omnibus claims objection (.4); review
                       various correspondence between PSZJ and state court
                       counsel re judicial mediator selection (.3): review and
                       consider PSZJ memo re next steps re plan and
                       disclosure statement (.2);
3/2/2023 Jesse Bair    Review current version of Committee work-in-progress      0.10      $62.50
                       litigation list (.1);
3/2/2023 Jesse Bair    Participate in conference with PSZJ team re mediation     1.30     $812.50
                       and litigation strategy (1.3);
3/2/2023 Jesse Bair    Analysis re third-party release issue re Diocese Plan     0.30     $187.50
                       (.3);
3/2/2023 Jesse Bair    Begin reviewing draft of second amended Committee         0.20     $125.00
                       Plan (.2);
3/2/2023 Jesse Bair    Review Herman law firm response to the Diocese's          0.20     $125.00
                       fourth omnibus claims objection (.2);
3/2/2023 Jesse Bair    Review correspondence with B. Michael and state           0.10      $62.50
                       court counsel re updates re judicial mediator selection
                       (.1);
3/2/2023 Jesse Bair    Review draft letter to the Diocese re judicial mediator        0.10    $62.50
                       selection (.1):
3/2/2023 Jesse Bair    Review suggested edits from state court counsel to             0.10    $62.50
                       current draft of the Committee's objection to the
                       Diocese's preliminary injunction motion (.1);
3/2/2023 Jesse Bair    Review Marsh law firm response to the Diocese's                0.20   $125.00
                       fourth omnibus claims objection (.2);
3/2/2023 Jesse Bair    Review correspondence from the Diocese re proposed             0.10    $62.50
                       preliminary injunction insurance exhibits (.1);
3/3/2023 Jesse Bair    Participate in state court counsel meeting re mediation        0.90   $562.50
                       strategy (.9);
3/3/2023 Jesse Bair    Review draft Committee joint letter to the Court re            0.10    $62.50
                       estimation and judicial mediator selection (.1);
3/3/2023 Jesse Bair    Review B. Cawley's email memorandum re potential               0.10    $62.50
                       insurance impacts, if any, of certain claim objections
                       (.1);
3/3/2023 Jesse Bair    Review deposition outline for E. Stephens (.5); review         0.60   $375.00
                       correspondence with J. Stang and state court counsel
                       re same (.1);
3/3/2023 Jesse Bair    Review LMI and Interstate's letter to the Court re             0.10    $62.50
                       estimation and judicial mediator issue (.1);
3/3/2023 Timothy Burns Participate in state court counsel meeting re mediator         1.00   $975.00
                       selection, preliminary injunction, and ongoing case
                       issues (.9); participate in call with J. Bair and I. Nasatir
                       re preparations and strategy for upcoming Porter
                       deposition(.1);
3/3/2023 Jesse Bair    Review the Diocese's letter to the Committee re                0.10    $62.50
                       judicial mediator issues (.1);
3/3/2023 Jesse Bair    Participate in conference with I. Nasatir and T. Burns re      0.10    $62.50
                       preparations and strategy for upcoming Porter
                       deposition (.1);
3/3/2023 Jesse Bair    Review the Debtor's reply in support of its 4th omnibus        0.30   $187.50
                       claims objection (.3);
3/4/2023 Jesse Bair    Correspondence with G. Greenwood re potential                  0.20   $125.00
                       additional insurance-related preliminary injunction
                       exhibits and the Diocese's proposed edits to the
                       existing insurance schedules (.2);
3/4/2023 Jesse Bair    Analysis regarding the Diocese's suggested edits to            0.30   $187.50
                       the Committee's proposed preliminary injunction
                       insurance exhibits (.3);
3/4/2023 Jesse Bair    Analysis regarding potential insurance edit to the             0.10    $62.50
                       Committee's preliminary injunction opposition brief (.1);
3/4/2023 Jesse Bair    Analysis re potential additional insurance-related             0.30   $187.50
                       preliminary injunction exhibits proposed by the Diocese
                       (.3);
3/4/2023 Jesse Bair    Review and edit BB's seventh interim fee application           0.90   $562.50
                       (.9);
3/4/2023 Timothy Burns Review correspondence with the Diocese and PSZJ re          0.20    $195.00
                       preliminary injunction hearing exhibits (.1); review the
                       parties' letters to the court re judicial mediator issue
                       (.1);
3/4/2023 Jesse Bair    Analysis regarding Porter deposition strategy (.1);         0.10     $62.50
3/4/2023 Jesse Bair    Review correspondence with the Diocese and G.               0.20    $125.00
                       Greenwood re proposed insurance preliminary
                       injunction exhibits and suggested edits to same (.2);
3/5/2023 Jesse Bair    Correspondence with B. Horn re edits needed to BB's         0.10     $62.50
                       seventh interim fee application (.1);
3/5/2023 Jesse Bair    Review initial Claro insurance questions in preparation     0.30    $187.50
                       for upcoming call (.2); correspondence with A. Kornfeld
                       re same (.1);
3/5/2023 Timothy Burns Review correspondence with the Diocese and PSZJ re          0.30    $292.50
                       preliminary injunction hearing exhibits (.2); review J.
                       Cronan's order re discovery dispute (.1);
3/6/2023 Jesse Bair    Review and respond to additional insurance question         0.20    $125.00
                       received from Claro (.2);
3/6/2023 Jesse Bair    Review initial draft of proposed K. Porter deposition       0.80    $500.00
                       outline (.8);
3/6/2023 Jesse Bair    Analyze the Arrowood policies re retroactive premium        0.70    $437.50
                       adjustment (.3); analyze case law re enforceability, if
                       any, of retroactive premium adjustment in bankruptcy
                       (.4);
3/6/2023 Jesse Bair    Begin drafting revised version of the Porter deposition     0.50    $312.50
                       outline, including review of prior Porter declarations
                       (.5);
3/6/2023 Jesse Bair    Participate in portion of Committee meeting re ongoing      0.60    $375.00
                       case issues (.6);
3/6/2023 Jesse Bair    Review the Diocese's letter to the Court re the             0.10     $62.50
                       Committee's claim objection adjournment request (.1);
3/6/2023 Jesse Bair    Prepare for call with Claro re insurance allocation         1.10    $687.50
                       analysis (.1); participate in call with Claro and PSZJ re
                       insurance allocation analysis and outstanding
                       questions re same (1.0);
3/6/2023 Jesse Bair    Participate in call with Reed Smith re case insurance       0.20    $125.00
                       issues (.2);
3/6/2023 Timothy Burns Review and revise initial draft of Porter deposition        1.70   $1,657.50
                       outline (.7); correspondence with J. Bair re same (.1);
                       begin review of Moore deposition transcript (.9);
3/6/2023 Jesse Bair    Analyze and respond to Claro questions re applicable        0.30    $187.50
                       policy limits (.3);
3/7/2023 Jesse Bair    Participate in call with G. Greenwood re the preliminary    0.30    $187.50
                       injunction insurance schedules and potential exhibits
                       for the Porter deposition (.3);
3/7/2023 Jesse Bair    Prepare for Porter deposition, including drafting           3.20   $2,000.00
                       revised Porter depo outline and analyzing related case
                       materials, including Diocesan PI discovery responses,
                       earlier Porter declarations, and associated case
                       briefing (3.2);
3/7/2023 Jesse Bair    Review revised preliminary injunction insurance               0.60    $375.00
                       schedules received from the Diocese (.2); participate
                       in call with the Diocese, G. Greenwood, and I. Nasatir
                       re same and potential additional revisions (.3);
                       participate in follow-up call with I. Nasatir re same (.1);
3/7/2023 Jesse Bair    Review and respond to correspondence with PSZJ                0.20    $125.00
                       team re strategy and preparations for upcoming Porter
                       depositions (.2);
3/8/2023 Jesse Bair    Review K. Dine email memorandum re mediation                  0.10     $62.50
                       session outcome and related follow-up items (.1);
3/8/2023 Timothy Burns Participate in conference with J. Bair re mediation           0.30    $292.50
                       session outcome and potential next-steps (.2);
                       supplemental analysis re going-forward insurance
                       strategy (.1);
3/8/2023 Jesse Bair    Review correspondence from K. Dine re upcoming                0.10     $62.50
                       status conference with the Court re mediation and
                       claim objection process (.1);
3/8/2023 Jesse Bair    Review correspondence from E. Stephens re further             0.30    $187.50
                       revised preliminary injunction insurance schedules from
                       the Diocese (.1); review proposed insurance schedules
                       (.1); draft correspondence to PSZJ and T. Burns re
                       additional edits needed to same (.1);
3/8/2023 Jesse Bair    Draft correspondence to the Diocese re potential              0.30    $187.50
                       additional edits to the revised preliminary injunction
                       insurance schedules (.2); additional correspondence
                       with G. Greenwood re finalizing insurance schedules
                       (.1);
3/8/2023 Jesse Bair    Continue preparing for Porter deposition, including           5.00   $3,125.00
                       drafting revised Porter depo outline, analyzing related
                       case materials, and identifying potential exhibits for
                       deposition (5.0);
3/8/2023 Jesse Bair    Participate in call with I. Nasatir re mediation session      0.30    $187.50
                       outcome and upcoming Porter deposition (.3);
3/8/2023 Jesse Bair    Review and respond to correspondence with G.                  0.30    $187.50
                       Greenwood re Porter deposition exhibits (.3);
3/8/2023 Jesse Bair    Participate in conference with T. Burns re mediation          0.20    $125.00
                       session outcome and potential next-steps (.2);
3/8/2023 Jesse Bair    Review correspondence from B. Michael re potential            0.10     $62.50
                       motion to dismiss and associated research results (.1);
3/9/2023 Jesse Bair    Review correspondence from B. Michael re upcoming             0.10     $62.50
                       claim objection hearing (.1);
3/9/2023 Jesse Bair    Participate in conference with T. Burns re outcome of         0.20    $125.00
                       court status conference and Porter deposition (.2);
3/9/2023 Jesse Bair    Participate in conference with T. Burns re status of the      0.20    $125.00
                       insurance adversary proceedings and judicial mediator
                       issue (.2);
3/9/2023 Jesse Bair    Participate in conference with T. Burns re recent call        0.10     $62.50
                       with Reed Smith re case insurance issues (.1);
3/9/2023 Jesse Bair    Review the Diocese's supplemental preliminary                 0.40    $250.00
                       injunction discovery responses and document
                       production (.4);
3/9/2023 Jesse Bair     Continue preparing for Porter deposition (.4);               0.40    $250.00
3/9/2023 Jesse Bair     Review correspondence with G. Greenwood and the              0.10     $62.50
                        Diocese re finalizing the preliminary injunction
                        insurance schedules (.1);
3/9/2023 Jesse Bair     Participate in conference with PSZJ team and T. Burns        1.60   $1,000.00
                        re mediation strategy, potential motion to dismiss, and
                        other ongoing case issues (1.6);
3/9/2023 Jesse Bair     Participate in call with I. Nasatir re outcome of Porter     0.20    $125.00
                        deposition (.2);
3/9/2023 Jesse Bair     Conduct deposition of K. Porter (2.8);                       2.80   $1,750.00
3/9/2023 Timothy Burns Correspondence with B. Michael and J. Bair re court           4.90   $4,777.50
                        conference re judicial mediator (.2); review
                        correspondence with the Diocese and PSZJ re
                        supplemental discovery materials from Diocese (.2);
                        review and analysis of email from K. Dine re mediation
                        summary (.2); review correspondence from B. Michael
                        re Diocese's SOL argument (.1); review Diocese
                        monthly PSIP information report (.1): conference with J.
                        Bair re preparations for judicial mediator conference
                        with J. Glenn (.2): conference with J. Bair re recent call
                        with Reed Smith (.1); prepare for conference with court
                        re judicial mediator, including review of emails re same
                        (.2); meet with team re hearing logistics (.1); review of
                        Diocese's supplemental discovery responses,
                        including review of attached exhibits (Ecclesia policy
                        and Arrowood financial reporting information) (.8);
                        attend virtual chambers conference for insurance
                        purposes (.6); emails and call from state court counsel
                        re case and resolution strategy (.3); review
                        correspondence from PSZJ re upcoming claims
                        objections hearing (.1); conference with J. Bair re
                        Porter deposition and Chambers conference outcome
                        (.2); participate in portion of meeting with PSZJ and J.
                        Bair re next steps re bankruptcy for insurance purposes
                        (1.5);
3/10/2023 Jesse Bair    Correspondence with B. Michael re BB's seventh               0.10     $62.50
                        interim fee application (.1);
3/10/2023 Jesse Bair    Review monthly PSIP information provided by the              0.10     $62.50
                        Diocese (.1);
3/10/2023 Jesse Bair    Review correspondence with the Diocese re finalizing         0.20    $125.00
                        the preliminary injunction insurance exhibits (.1); review
                        proposed final versions of the exhibits (.1);
3/10/2023 Jesse Bair    Review correspondence from Arrowood re Arrowood's            0.10     $62.50
                        request to attend preliminary injunction depositions (.1);
3/10/2023 Jesse Bair    Review draft stipulation and order re the admissibility      0.10     $62.50
                        of preliminary injunction exhibits (.1);
3/11/2023 Jesse Bair    Review correspondence with K. Brown re potential             0.10     $62.50
                        edits to the preliminary injunction opposition brief (.1);
3/11/2023 Timothy Burns Review Agenda for March 14 Hearing (.1); review              0.30    $292.50
                        stipulation and order regarding admissibility of
                        preliminary injunction exhibits (.1); review Arrowood
                        correspondence re deposition attendance request (.1);
3/13/2023 Jesse Bair     Review the Debtor's reply in support of its fifth omnibus   0.30    $187.50
                         claims objection (.3);
3/13/2023 Jesse Bair     Review debtor reply brief in support of cell tower sale     0.10     $62.50
                         (.1);
3/13/2023 Jesse Bair     Correspondence with I. Nasatir and K. Brown re error        0.20    $125.00
                         in the Porter dispositions transcript (.1);
                         correspondence with the Debtor re correcting same
                         (.1);
3/13/2023 Nathan Kuenzi Participate in BB team meeting re case status and            0.10     $42.00
                         ongoing projects (.1);
3/13/2023 Jesse Bair     Review correspondence from B. Michael re upcoming           0.10     $62.50
                         Committee meeting (.1);
3/13/2023 Leakhena Au Participate in BB team meeting re case status and              0.10     $42.00
                         ongoing projects (.1);
3/13/2023 Alyssa Turgeon Participate in BB team meeting re case status and           0.10     $36.00
                         ongoing projects (.1);
3/13/2023 Timothy Burns Participate in state court counsel meeting for insurance     0.90    $877.50
                         purposes re ongoing case issues (.8); participate in
                         BB team meeting re case status and ongoing projects
                         (.1);
3/13/2023 Jesse Bair     Participate in BB team meeting re case status and           0.10     $62.50
                         ongoing projects (.1);
3/13/2023 Jesse Bair     Review additional correspondence with G. Greenwood,         0.10     $62.50
                         K. Dine, and B, Michael re finalization of preliminary
                         injunction opposition brief (.1);
3/13/2023 Jesse Bair     Review suggested insurance edit to the Committee's          0.40    $250.00
                         preliminary injunction opposition brief received from I.
                         Nasatir (.1); review and respond to correspondence
                         with G. Greenwood and I. Nasatir re same and final
                         additional insurance edits to the Committee's
                         preliminary injunction opposition brief (.3);
3/13/2023 Jesse Bair     Review and edit most recent draft of the Committee's        1.20    $750.00
                         preliminary injunction opposition brief, including
                         incorporating excerpts from the recent Porter
                         deposition (1.2);
3/13/2023 Jesse Bair     Participate in state court counsel meeting for insurance    0.80    $500.00
                         purposes re ongoing case issues (.8);
3/14/2023 Jesse Bair     Correspondence with G. Greenwood re supplemental            0.10     $62.50
                         insurance edit to the Committee preliminary injunction
                         opposition brief (.1);
3/14/2023 Timothy Burns Review agenda for March 14 hearing (.1); attend court        2.80   $2,730.00
                         hearing on claim objections, cell tower sale, and status
                         conference to assess insurance-related settlement
                         issues (2.7);
3/14/2023 Jesse Bair     Review correspondence with J. Stang, K. Dine, and           0.20    $125.00
                         state court counsel re status conference outcome and
                         potential next-steps (.2);
3/14/2023 Jesse Bair     Review and edit Porter deposition exhibit to the            0.30    $187.50
                         Committee preliminary injunction opposition brief (.3);
3/14/2023 Jesse Bair    Attend court hearing on claim objections, cell tower         2.70   $1,687.50
                        sale, and status conference to assess insurance-
                        related settlement issues (2.7);
3/14/2023 Jesse Bair    Review additional correspondence with G. Greenwood           0.10     $62.50
                        and I. Nasatir re final insurance edits to the
                        Committee's preliminary injunction opposition brief (.1);
3/15/2023 Timothy Burns Review correspondence with state court counsel,              0.20    $195.00
                        PSZJ, and the Committee re status conference
                        outcome and potential next-steps (.2);
3/16/2023 Jesse Bair    Review revised version of preliminary injunction             0.30    $187.50
                        evidentiary stipulation received from the Diocese (.1);
                        correspondence with K. Brown, G. Greenwood, and I.
                        Nasatir re same (.1); review additional correspondence
                        with the Diocese re same (.1);
3/16/2023 Jesse Bair    Participate in call with J. Stang re status of the           0.30    $187.50
                        insurance district court actions and overall insurance
                        strategy (.3);
3/16/2023 Jesse Bair    Review and respond to correspondence with J. Stang           0.20    $125.00
                        re Evanston district court status update letter (.2);
3/16/2023 Jesse Bair    Draft proposed language for Evanston district court          0.30    $187.50
                        status update letter re the current status of the case and
                        mediation negotiations (.3);
3/16/2023 Jesse Bair    Review insurer exposure analysis (.1); assess potential      0.20    $125.00
                        next-steps in connection with insurance negotiations
                        (.1);
3/16/2023 Jesse Bair    Review draft status update letter circulated by the          0.40    $250.00
                        Diocese (.1); correspond with the Diocese re
                        suggested edits to same (.1); review revised version of
                        the status update letter for the Evanston district court
                        action (.1); review correspondence with Evanston re
                        same (.1);
3/16/2023 Jesse Bair    Review and respond to correspondence with the                0.20    $125.00
                        Diocese re joint status letter due in the Evanston
                        district court action (.2);
3/17/2023 Jesse Bair    Review correspondence with PSZJ and state court              0.10     $62.50
                        counsel re final version of preliminary injunction
                        opposition brief and next-steps (.1);
3/17/2023 Jesse Bair    Review Evanston's suggested edits to the draft joint         0.10     $62.50
                        status update letter (.1);
3/17/2023 Jesse Bair    Review correspondence from B. Michael to state court         0.10     $62.50
                        counsel re case update (.1);
3/17/2023 Timothy Burns Review joint status update letter to court in Evanston       0.10     $97.50
                        adversary proceeding (.1);
3/17/2023 Jesse Bair    Review draft joinder in support of the Committee's           0.10     $62.50
                        preliminary injunction opposition brief (.1);
3/18/2023 Jesse Bair    Review correspondence with K. Dine and the                   0.10     $62.50
                        Committee re preliminary injunction briefing issues (.1);
3/21/2023 Jesse Bair    Correspondence with E. Stephens re edit to the Porter        0.10     $62.50
                        deposition transcript (.1);
3/21/2023 Brenda Horn   Draft BB's twenty-eighth monthly fee statement (.6);       0.80   $288.00
                        generate and edit Exhibit A to same (.1); correspond
                        with J. Bair re same (.1);
3/21/2023 Jesse Bair    Provide instructions to B. Cawley re supplemental          0.20   $125.00
                        research needed re the insurers' purported late notice
                        defense (.1); review B. Cawley email memorandum
                        summarizing supplemental research results (.1);
3/21/2023 Jesse Bair    Review correspondence with B. Michael re Committee         0.10    $62.50
                        motion to dismiss (.1);
3/21/2023 Timothy Burns Participate in conference with J. Bair re case insurance   0.30   $292.50
                        strategy (.3);
3/21/2023 Brian Cawley Analysis re the ability of an injured party to provide      2.00   $840.00
                        notice instead of a policyholder under New York
                        Insurance Law Section 3420 (1.8); draft summary of
                        Section 3420 research (.2);
3/21/2023 Jesse Bair    Participate in conference with T. Burns re case            0.30   $187.50
                        insurance strategy (.3);
3/22/2023 Jesse Bair    Review the Parishes' response to the Committee's           0.40   $250.00
                        claim objections (.3); review related appendix re PSIP
                        issues (.1);
3/22/2023 Timothy Burns Analysis and consideration of claimant notice issue        0.50   $487.50
                        under New York Insurance Law Section 3420 (.3);
                        conference with J. Bair re same (.1); correspond with J.
                        Bair re same (.1);
3/22/2023 Jesse Bair    Review and respond to questions from state court           0.20   $125.00
                        counsel re additional insured issues (.2);
3/22/2023 Jesse Bair    Respond to T. Burns correspondence re the insurers'        0.20   $125.00
                        purported late notice defense and supplemental
                        research needed in connection with same (.1);
                        participate in conference with T. Burns re same (.1);
3/22/2023 Jesse Bair    Review the Diocese's reply in support of its sixth         0.40   $250.00
                        omnibus claims objection (.4);
3/23/2023 Jesse Bair    Analyze LMI's answer and affirmative defenses in the       0.40   $250.00
                        LMI district court action (.4);
3/23/2023 Leakhena Au Participate in BB team meeting re case status and            0.10    $42.00
                        ongoing projects (.1);
3/23/2023 Jesse Bair    Participate in call with J. Stang re the Committee's       0.30   $187.50
                        motion to dismiss, case status, and related insurance
                        issues (.3);
3/23/2023 Jesse Bair    Analyze and respond to questions from state court          0.30   $187.50
                        counsel re historical Diocesan insurance issues (.3);
3/23/2023 Jesse Bair    Review recent appellate decision re Diocesan liability     0.10    $62.50
                        for CVA claims (.1);
3/23/2023 Jesse Bair    Participate in BB team meeting re case developments        0.10    $62.50
                        and associated projects (.1);
3/23/2023 Brian Cawley Additional research re claimant notice requirements         0.40   $168.00
                        under New York Insurance Law Section 3420 (.3); draft
                        summary of research findings (.1);
3/23/2023 Timothy Burns Participate in BB team meeting re case developments        0.10    $97.50
                        and associated projects (.1);
3/23/2023 Jesse Bair     Review correspondence with I. Nasatir and BRG re           0.10     $62.50
                         PSIP issues (.1);
3/23/2023 Brian Cawley Participate in BB team meeting re case developments          0.10     $42.00
                         and associated projects (.1);
3/23/2023 Jesse Bair     Provide instructions to L. Au re additional insured        0.10     $62.50
                         analysis needed in connection with the Committee's
                         motion to dismiss (.1);
3/23/2023 Alyssa Turgeon Participate in BB team meeting re case developments        0.10     $36.00
                         and associated projects (.1);
3/23/2023 Jesse Bair     Begin reviewing and editing the Committee's motion to      0.50    $312.50
                         dismiss (.5);
3/23/2023 Jesse Bair     Review correspondence with K. Dine, I. Nasatir. and K.     0.10     $62.50
                         Brown re potential edits to the draft motion to dismiss
                         (.1);
3/23/2023 Jesse Bair     Analyze Lexington's answer and affirmative defenses in     0.20    $125.00
                         the LMI district court action (.2);
3/23/2023 Nathan Kuenzi Participate in BB team meeting re case developments         0.10     $42.00
                         and associated projects (.1);
3/24/2023 Jesse Bair     Review correspondence with B. Michael and state            0.10     $62.50
                         court counsel re potential judicial mediator candidate
                         (.1);
3/24/2023 Timothy Burns Review the Committee's draft motion to dismiss (.9);        2.50   $2,437.50
                         participate in state court counsel meeting re ongoing
                         case issues and strategy (.7); review email from B.
                         Michael re potential judicial mediator (.1); review
                         agenda for March 28 court hearing (.1); review recent
                         1st Dept appellate decision re Diocesan liability for
                         CVA claims (.1); review Marsh plaintiffs Joinder to
                         Objection to Injunction Motion (.1); review and consider
                         B. Cawley research results re notice issues under New
                         York Insurance Law Section 3420 (.2); review
                         correspondence with PSZJ and state court counsel re
                         motion to dismiss (.1); review correspondence with
                         PSZJ and BRG re PSIP issues (.1); review K. Dine's
                         suggested edits to the draft motion to dismiss (.1);
3/24/2023 Leakhena Au Conduct supplemental additional insured analysis              3.40   $1,428.00
                         needed in connection with motion to dismiss briefing
                         (3.4);
3/24/2023 Jesse Bair     Review survivor response to the Diocese's 9th              0.20    $125.00
                         omnibus claims objection (.2);
3/24/2023 Jesse Bair     Analyze L. Au research results re supplemental             0.40    $250.00
                         additional insured analysis completed in connection
                         with motion to dismiss briefing (.2); review Diocese
                         Plan terms and exhibits in relation to same (.2);
3/24/2023 Jesse Bair     Edit and revise the Committee's motion to dismiss          1.20    $750.00
                         brief with focus on insurance-related edits (1.2);
3/24/2023 Jesse Bair     Participate in state court counsel meeting re ongoing      0.70    $437.50
                         case issues and strategy (.7);
3/24/2023 Jesse Bair     Review second survivor response to the Diocese's 9th       0.20    $125.00
                         omnibus claims objection (.2);
3/24/2023 Jesse Bair    Correspondence with G. Greenwood re preliminary              0.10     $62.50
                        injunction hearing preparations (.1);
3/24/2023 Jesse Bair    Review and respond to correspondence with L. Au re           0.20    $125.00
                        supplemental additional insured analysis needed in
                        connection with motion to dismiss briefing (.2);
3/25/2023 Jesse Bair    Review letter from the Committee to the Diocese re           0.10     $62.50
                        recent appellate decision impacting the Diocese's
                        claims objections (.1);
3/25/2023 Jesse Bair    Review correspondence from K. Brown and G.                   0.10     $62.50
                        Greenwood re preliminary injunction hearing evidence
                        (.1);
3/26/2023 Jesse Bair    Analysis re insurance-related evidence for use during        0.20    $125.00
                        the preliminary injunction hearing (.1); correspondence
                        with K, Brown and G. Greenwood re same (.1);
3/26/2023 Jesse Bair    Review correspondence from state court counsel re            0.10     $62.50
                        recent appellate decision impacting the Diocese's
                        claim objections (.1);
3/26/2023 Timothy Burns Participate in calls with state court counsel re insurance   0.50    $487.50
                        issues and strategy (.5);
3/27/2023 Jesse Bair    Review final version of the Committee's motion to            0.10     $62.50
                        dismiss (.1);
3/27/2023 Jesse Bair    Review correspondence from the Diocese re its refusal        0.10     $62.50
                        to withdraw its 6th omnibus claims objection in light of
                        recent appellate decision (.1);
3/27/2023 Jesse Bair    Review the Committee's motion to stay (.2);                  0.20    $125.00
3/27/2023 Jesse Bair    Review correspondence with G. Greenwood and the              0.10     $62.50
                        Diocese re preliminary injunction exhibits and evidence
                        (.1);
3/27/2023 Jesse Bair    Participate in conference with T. Burns re potential         0.20    $125.00
                        claims against the Diocese's insurers and related
                        Arrowood issues (.2);
3/27/2023 Jesse Bair    Review the parties' joint correspondence to the Court        0.10     $62.50
                        re potential judicial mediator (.1);
3/27/2023 Timothy Burns Participate in conference with J. Bair re potential          0.50    $487.50
                        claims against the Diocese's insurers and related
                        Arrowood issues (.2); participate in call with state court
                        counsel re same (.3);
3/27/2023 Jesse Bair    Review correspondence with J. Stang, B. Michael, and         0.10     $62.50
                        state court counsel re next-steps re the Committee's
                        motion to dismiss (.1);
3/28/2023 Jesse Bair    Review agenda for Committee meeting (.1); participate        1.50    $937.50
                        in Committee meeting re ongoing case issues for
                        insurance purposes (1.4);
3/28/2023 Jesse Bair    Review Porter errata sheet (.1);                             0.10      $62.50
3/28/2023 Jesse Bair    Participate in meeting with PSZJ and state court             1.70   $1,062.50
                        counsel re motion to dismiss and going-forward case
                        strategy (1.0); participate in post-call meeting with
                        PSZJ team and T. Burns re same (.7);
3/28/2023 Timothy Burns Conference with J. Bair re ongoing developments and          0.20    $195.00
                        strategy on insurance (.2);
3/28/2023 Jesse Bair    Attend hearing on claims objections for insurance          1.60   $1,000.00
                        purposes (1.6);
3/28/2023 Jesse Bair    Review correspondence with J. Stang and state court        0.10     $62.50
                        counsel re motion to dismiss issues (.1);
3/28/2023 Brian Cawley Begin analyzing recent BSA district court opinion re        1.50    $630.00
                        issues implicating DRVC action (1.5);
3/28/2023 Jesse Bair    Conference with T. Burns re ongoing developments and       0.20    $125.00
                        strategy on insurance (.2);
3/28/2023 Jesse Bair    Provide instructions to B. Cawley re analysis needed in    0.10     $62.50
                        connection with recent BSA decision re ongoing issues
                        in DRVC case (.1);
3/28/2023 Timothy Burns Attend hearing on claims objections for insurance          4.80   $4,680.00
                        purposes (1.6); participate in meeting with PSZJ and
                        state court counsel re motion to dismiss and going-
                        forward case strategy (1.0); participate in post-call
                        meeting with PSZJ team and J. Bair re same (.7);
                        review correspondence from state court counsel re
                        joinders in motion to dismiss (.1); participate in
                        Committee meeting re ongoing case issues for
                        insurance purposes (1.4);
3/28/2023 Jesse Bair    Analysis re potential motion to dismiss insurance-         0.10     $62.50
                        related discovery (.1);
3/29/2023 Jesse Bair    Review draft preliminary injunction exhibit list and and   0.30    $187.50
                        consider potential additions to same (.2);
                        correspondence with G. Greenwood and K. Brown re
                        same (.1);
3/29/2023 Jesse Bair    Review the Diocese's reply in support of its eighth        0.40    $250.00
                        omnibus claims objection (.4);
3/29/2023 Jesse Bair    Review notice of hearing re seventh interim fee            0.10     $62.50
                        applications (.1);
3/29/2023 Brian Cawley Continue analyzing detailed BSA district court opinion      4.60   $1,932.00
                        re issues implicating DRVC action (4.6);
3/29/2023 Jesse Bair    Review the Committee's reply in support of its parish      0.10     $62.50
                        and affiliate claim objections (.1);
3/29/2023 Jesse Bair    Additional analysis re insurance-related motion to         0.10     $62.50
                        dismiss issues (.1);
3/29/2023 Jesse Bair    Review correspondence with J. Stang, state court           0.20    $125.00
                        counsel, and the Committee re motion to stay issues
                        (.2);
3/29/2023 Jesse Bair    Review materials re recent Diocesan insurance              0.10     $62.50
                        activities (.1);
3/30/2023 Jesse Bair    Participate in conference with PSZJ team and T. Burns      0.60    $375.00
                        re ongoing case issues and next-steps (.6);
3/30/2023 Jesse Bair    Participate in call with T. Burns re insurance issues in   0.20    $125.00
                        connection with potential upcoming mediation (.2);
3/30/2023 Brian Cawley Continue analyzing detailed BSA district court opinion      2.80   $1,176.00
                        re issues implicating DRVC action (2.8);
3/30/2023 Jesse Bair    Review Judge Glenn's pre-trial conference order                0.30     $187.50
                        template (.1); review correspondence with G.
                        Greenwood and K. Brown re preparing same (.1);
                        review correspondence with G. Greenwood and the
                        Diocese re same (.1);
3/30/2023 Jesse Bair    Review the Court's Order sustaining the Diocese's 4th          0.50     $312.50
                        omnibus claims objection (.5);
3/30/2023 Jesse Bair    Review analysis of insurance exposures in connection           0.10      $62.50
                        with potential upcoming mediation session (.1);
3/30/2023 Jesse Bair    Answer B. Cawley questions re project re analysis of           0.20     $125.00
                        recent BSA decision in connection with insurance
                        issues relevant to the DRVC case (.2);
3/30/2023 Jesse Bair    Review the parties' joint letter to the Court requesting       0.10      $62.50
                        stay of proceedings (.1);
3/30/2023 Jesse Bair    Review correspondence with G. Greenwood and the                0.10      $62.50
                        Diocese re preliminary injunction exhibit list issues (.1);
3/30/2023 Timothy Burns Review correspondence with PSZJ and state court                0.70     $682.50
                        counsel re court rulings and mediation (.2); participate
                        in call with J. Bair re insurance issues in connection
                        with potential upcoming mediation (.2); participate in
                        portion of meeting with PSZJ and J. Bair re ongoing
                        case issues and next-steps (.3);
3/30/2023 Jesse Bair    Review various correspondence with J. Stang, state             0.20     $125.00
                        court counsel, and the Committee re denial of the
                        motion to stay, potential judicial mediator, and case
                        next-steps (.2);
3/30/2023 Brian Cawley Begin outlining memorandum re recent BSA decision               3.10   $1,302.00
                        in connection with insurance issues relevant to DRVC
                        case (2.9); participate in conference with J. Bair re
                        questions regarding same (.2);
3/31/2023 Timothy Burns Review correspondence with PSZJ and state court                0.20     $195.00
                        counsel re upcoming Chambers conference re
                        mediation issues (.2);
3/31/2023 Jesse Bair    Review the Parishes' response to the Committee's               0.20     $125.00
                        preliminary injunction opposition (.1); analyze insurance
                        issues in connection with same (.1);
3/31/2023 Jesse Bair    Review the Diocese's reply in support of its 9th               0.40     $250.00
                        omnibus claims objection (.4);
3/31/2023 Brian Cawley Continue drafting memorandum summarizing recent                 3.60   $1,512.00
                        BSA decision in connection with insurance issues
                        relevant to DRVC case (3.6);
3/31/2023 Jesse Bair    Review the Diocese's and LMI's joint status update             0.10      $62.50
                        letter to Judge Cronan (.1);
3/31/2023 Jesse Bair    Review state court counsel joinders in support of the          0.10      $62.50
                        Committee's motion to dismiss (.1);
3/31/2023 Jesse Bair    Review K. Dine email memorandum re outcome of                  0.20     $125.00
                        recent conference with the Court and the Diocese (.1);
                        review correspondence with state court counsel and
                        the Committee re same and next-steps (.1);
Total Hours and Fees                                                                  105.50 $69,618.00
                 Timekeeper Summary
Name                  Hours              Rate                  Amount
Alyssa Turgeon         0.20           $360.00                    $72.00
Brenda Horn            0.80           $360.00                   $288.00
Brian Cawley          18.10           $420.00                 $7,602.00
Jesse Bair            58.50           $625.00                $36,562.50
Leakhena Au            3.60           $420.00                 $1,512.00
Nathan Kuenzi          0.20           $420.00                    $84.00
Timothy Burns         24.10           $975.00                $23,497.50



                                      Total Due This Invoice: $69,618.00
                                      10 E. Doty St., Suite 600
                                    Madison, Wisconsin 53703-3392
                                            608-286-2302
                                         www.BurnsBair.com


The Official Committee of Unsecured Creditors of                            Issue Date :       5/10/2023
The Roman Catholic Diocese of Rockville Centre
                                                                                   Bill # :       01141


Matter: Insurance


                          PROFESSIONAL SERVICES RENDERED


Date      Timekeeper    Narrative                                                      Hours    Amount
4/1/2023 Jesse Bair     Correspond with B. Cawley re BSA analysis project              0.10       $62.50
                        (.1);
4/3/2023 Jesse Bair     Additional analysis of materials re recent Diocesan            0.20      $125.00
                        insurance activities (.1); correspondence with I. Nasatir
                        re recent Diocesan insurance activities (.1);
4/3/2023 Jesse Bair     Review correspondence from the Court re preliminary            0.60      $375.00
                        injunction hearing logistics (.1); participate in call with
                        PSZJ team re same and related preparations (.4);
                        participate in follow-up call with I. Nasatir re preliminary
                        injunction insurance issues (.1);
4/3/2023 Brian Cawley   Continue drafting memorandum summarizing recent                5.90    $2,478.00
                        BSA decision in connection with insurance issues
                        relevant to DRVC case (4.0); analyze and summarize
                        bankruptcy court holding for case law discussed by
                        district court (1.9);
4/3/2023 Jesse Bair     Analyze recent KCIC article re Arrowood's financial            0.10       $62.50
                        condition (.1);
4/3/2023 Jesse Bair     Review the Debtor's reply in support of its tenth              0.10       $62.50
                        omnibus claims objection (.1);
4/3/2023 Jesse Bair     Review current draft of the Committee's preliminary            0.30      $187.50
                        injunction exhibit list (.1); review and respond to
                        correspondence with G. Greenwood and I. Nasatir re
                        potential additions to same (.2);
4/3/2023 Jesse Bair     Review G. Greenwood's draft language for the                   0.10       $62.50
                        proposed joint pre-trial order re the preliminary
                        injunction hearing (.1);
4/3/2023 Timothy Burns Conference with J. Bair re preliminary injunction           1.20   $1,170.00
                       hearing strategy (.3): review agenda for April 5 hearing
                       (.1); review Diocese reply brief re 10th Omnibus Claims
                       Objection (.1); review the parties' status letter to the
                       Court in LMI adversary proceeding (.1); review KCIC
                       article re Arrowood's financial condition (.1); review
                       Diocese of Brooklyn decision re Arrowood (.1); review
                       Parishes' response re preliminary injunction motion (.1);
                       review Merson Law plaintiffs' joinder re preliminary
                       injunction motion (.1); review the Diocese's Ninth
                       Omnibus Objection reply brief (.2);
4/3/2023 Jesse Bair    Participate in conference with T. Burns re case             0.30    $187.50
                       insurance strategy and upcoming preliminary injunction
                       hearing (.3);
4/4/2023 Leakhena Au Participate in BB team meeting re case status and             0.10     $42.00
                       ongoing insurance projects (.1)
4/4/2023 Jesse Bair    Participate in conference with T. Burns re preliminary      0.20    $125.00
                       injunction insurance strategy (.2);
4/4/2023 Jesse Bair    Participate in conference with T. Burns re Arrowood         0.10     $62.50
                       strategy (.1);
4/4/2023 Timothy Burns Review correspondence with J. Stang and state court         0.90    $877.50
                       counsel re appointment of mediator and related case
                       issues (.2); participate in BB team meeting re case
                       status and ongoing insurance projects (.1); review K.
                       Dine correspondence re case developments and next-
                       steps (.1); conference with J. Bair re preliminary
                       injunction hearing issues (.2); participate in conference
                       with J. Bair re Arrowood strategy (.1); conference with
                       J. Bair re motion to dismiss strategy from insurance
                       standpoint (.2);
4/4/2023 Brian Cawley Participate in BB team conference re case status and         0.10     $42.00
                       related insurance projects (.1);
4/4/2023 Brian Cawley Continue drafting memorandum summarizing recent              6.50   $2,730.00
                       BSA decision in connection with insurance issues
                       relevant to DRVC case (4.0); continue analyzing
                       bankruptcy court decision for information relevant to
                       district court opinion (1.8); research case law relied
                       upon by district court in connection with finalizing
                       insurance summary (.7);
4/4/2023 Jesse Bair    Review K. Dine correspondence with state court              0.10     $62.50
                       counsel and Committee re case update and next-steps
                       (.1);
4/4/2023 Jesse Bair    Participate in conference with T. Burns re motion to        0.20    $125.00
                       dismiss insurance issues (.2);
4/4/2023 Brenda Horn Draft monthly fee statement (.6); generate and edit           0.80    $288.00
                       Exhibit A to same (.1); correspond with J. Bair re same
                       (.1);
4/4/2023 Jesse Bair    Analyze recent decision in the Arrowood v. Diocese of       0.30    $187.50
                       Brooklyn case for insurance issues relevant to DRVC
                       matter (.2); draft status update to PSZJ team re same
                       (.1);
4/4/2023 Nathan Kuenzi Participate in BB team meeting re case status and             0.10     $42.00
                        ongoing insurance projects (.1);
4/4/2023 Jesse Bair     Participate in BB team conference re case status and         0.10     $62.50
                        related insurance projects (.1);
4/4/2023 Alyssa Turgeon Participate in BB team conference re case status and         0.10     $36.00
                        related insurance projects (.1);
4/4/2023 Jesse Bair     Review motion to dismiss scheduling order (.1);              0.10     $62.50
4/5/2023 Jesse Bair     Review correspondence with I. Nasatir and K. Brown re        0.10     $62.50
                        preparations for cross of K. Porter in connection with
                        preliminary injunction hearing (.1);
4/5/2023 Jesse Bair     Review revised version of the Committee's proposed           0.20    $125.00
                        preliminary injunction exhibit list (.1); review
                        correspondence with PSZJ team re same (.1);
4/5/2023 Jesse Bair     Review the Committee's motion to dismiss discovery           0.20    $125.00
                        requests served on the Diocese (.2);
4/5/2023 Timothy Burns Attend hearing on claims objections for insurance             3.40   $3,315.00
                        purposes (3.0); participate in conference with J. Bair re
                        preliminary injunction hearing presentation issues (.4);
4/5/2023 Jesse Bair     Review correspondence with PSZJ and the court re             0.50    $312.50
                        preliminary injunction hearing logistics (.1); participate
                        in conference with T. Burns re preliminary injunction
                        hearing presentation issues (.4);
4/5/2023 Jesse Bair     Attend hearing on claims objections for insurance            3.00   $1,875.00
                        purposes (3.0);
4/5/2023 Brian Cawley Finish drafting memorandum summarizing recent BSA              5.40   $2,268.00
                        decision in connection with insurance issues relevant to
                        DRVC case (5.4);
4/5/2023 Jesse Bair     Participate in call with I. Nasatir and G. Greenwood re      0.30    $187.50
                        preliminary injunction insurance exhibits (.3);
4/6/2023 Jesse Bair     Participate in portion of conference with PSZJ team re       0.50    $312.50
                        ongoing case issues for insurance purposes (.5);
4/6/2023 Timothy Burns Review the Committee's motion to dismiss discovery            0.40    $390.00
                        requests (.2); review the Diocese's motion to dismiss
                        discovery requests (.2);
4/6/2023 Jesse Bair     Review correspondence from K. Dine re case                   0.10     $62.50
                        developments and motion to dismiss discovery (.1);
4/6/2023 Jesse Bair     Review correspondence with G. Greenwood and the              0.10     $62.50
                        Diocese re preliminary injunction hearing exhibits (.1);
4/7/2023 Jesse Bair     Review C. Moore preliminary injunction direct testimony      0.20    $125.00
                        declaration (.2);
4/7/2023 Jesse Bair     Review K. Porter preliminary injunction direct testimony     0.40    $250.00
                        declaration (.3); review K. Brown's potential objections
                        to same (.1);
4/7/2023 Jesse Bair     Review and respond to correspondence with PSZJ               0.20    $125.00
                        team re the parishes' preliminary injunction response
                        and potential reply to same (.2);
4/7/2023 Jesse Bair     Review the Diocese's letter to the Court re its 6th          0.10     $62.50
                        omnibus claims objection (.1);
4/7/2023 Jesse Bair     Review the Committee's motion to dismiss 30(b)(6)            0.10     $62.50
                        notice on the Diocese (.1);
4/7/2023 Jesse Bair    Review the Diocese's preliminary injunction reply brief      0.70   $437.50
                       (.7);
4/7/2023 Jesse Bair    Review the Diocese's preliminary injunction exhibit list     0.20   $125.00
                       (.1); review correspondence with K. Brown, G.
                       Greenwood, and I. Nasatir re same (.1);
4/7/2023 Jesse Bair    Review E. Stephens preliminary injunction direct             0.20   $125.00
                       testimony declaration (.2);
4/9/2023 Jesse Bair    Analysis re insurance-related motion to dismiss              0.60   $375.00
                       discovery requests served on the Committee (.3);
                       review and respond to various correspondence with A.
                       Kornfeld, I. Nasatir, and G. Brown re potential
                       responses to same (.3);
4/9/2023 Jesse Bair    Review additional correspondence with K. Brown re            0.20   $125.00
                       particular argument raised by the Diocese in its
                       preliminary injunction reply brief (.1); review K. Dine
                       suggested response to same (.1);
4/9/2023 Jesse Bair    Review and respond to correspondence with K. Brown           0.20   $125.00
                       re potential reply to the parishes' preliminary injunction
                       response (.2);
4/9/2023 Jesse Bair    Review K. Brown correspondence re the Diocese's              0.10    $62.50
                       Section 157(b)(5) preliminary injunction argument and
                       potential response to same (.1);
4/10/2023 Jesse Bair   Draft analysis of potential objections to and cross of K.    0.70   $437.50
                       Porter preliminary injunction direct testimony (.7);
4/10/2023 Jesse Bair   Respond to G. Brown correspondence re insurance-             0.10    $62.50
                       related motion to dismiss discovery and prior
                       insurance-related document productions from the
                       Diocese (.1);
4/10/2023 Jesse Bair   Analyze various district court orders referring the          0.50   $312.50
                       insurance actions to Magistrate Judge Cave for
                       settlement purposes (.2); correspondence with PSZJ
                       team re same (.2); correspondence with Reed Smith re
                       same (.1);
4/10/2023 Jesse Bair   Review current draft of the parties' proposed joint pre-     0.40   $250.00
                       trial order (.2); correspondence with K. Brown, I.
                       Nasatir, and G. Greenwood re same (.2);
4/10/2023 Jesse Bair   Review and edit current draft of the Committee's             1.00   $625.00
                       responses to the Diocese's motion to dismiss
                       discovery requests (1.0);
4/10/2023 Jesse Bair   Analyze insurer settlement status and exposure               0.30   $187.50
                       analysis in advance of upcoming settlement call with
                       Magistrate Cave (.2); correspondence with J. Stang re
                       same (.1);
4/10/2023 Jesse Bair   Review correspondence with PSZJ and the Diocese re           0.10    $62.50
                       preliminary injunction exhibits and objections (.1);
4/11/2023 Jesse Bair   Review K. Dine correspondence re case developments           0.10    $62.50
                       (.1);
4/11/2023 Jesse Bair   Review correspondence with J. Stang and state court          0.10    $62.50
                       counsel re preliminary injunction strategy (.1);
4/11/2023 Jesse Bair    Review revised version of the joint pre-trial order         0.20    $125.00
                        circulated by the Diocese (.1); review correspondence
                        with PSZJ and the Diocese re same (.1);
4/11/2023 Jesse Bair    Review and edit the Committee's objection to K.             0.50    $312.50
                        Porter's direct testimony declaration (.4); review
                        correspondence with I. Nasatir re same (.1);
4/11/2023 Timothy Burns Analysis of Plan insurance options and settlement           1.50   $1,462.50
                        strategies (1.2); conference with J. Bair re same (.2);
                        conference with J. Bair re meet and confer with Reed
                        Smith re magistrate settlement conference (.1);
4/11/2023 Jesse Bair    Review the Diocese's motion to dismiss witness list         0.10     $62.50
                        (.1);
4/11/2023 Jesse Bair    Review additional district court orders referring the       0.60    $375.00
                        insurance actions to Magistrate Cave for settlement
                        purposes (.2); review and respond to correspondence
                        with PSZJ team re same (.2); correspondence with
                        Reed Smith re same and meet and confer call (.1);
                        participate in conference with T. Burns re same (.1);
4/11/2023 Jesse Bair    Review and edit the Committee's objection to E.             0.20    $125.00
                        Stephen's direct testimony declaration (.2);
4/11/2023 Jesse Bair    Review and edit the Committee's objection to C.             0.30    $187.50
                        Moore's direct testimony declaration (.3);
4/11/2023 Jesse Bair    Participate in conference with T. Burns re insurance-       0.20    $125.00
                        related Plan strategy (.2);
4/12/2023 Jesse Bair    Prepare for Reed Smith settlement conference meet           1.00    $625.00
                        and confer (.1); participate in pre-meeting conference
                        with T. Burns re mediation strategy (.2); participate in
                        Reed Smith settlement conference meet and confer
                        (.4); participate in post-meeting conference with T.
                        Burns re outcome of same and potential next-steps in
                        advance of Friday call with Magistrate Judge Cave (.3);
4/12/2023 Jesse Bair    Review revised version of Porter direct testimony           0.10     $62.50
                        objection (.1);
4/12/2023 Jesse Bair    Review and consider additional settlement-related           0.30    $187.50
                        orders entered in the insurance district court actions
                        (.2); correspondence with PSZJ team re same (.1);
4/12/2023 Jesse Bair    Participate in conference with PSZJ re mediation            0.70    $437.50
                        strategy and upcoming settlement conference call with
                        Magistrate Judge Cave (.5); participate in post-call with
                        T. Burns re same and next-steps (.2);
4/12/2023 Jesse Bair    Analysis re Arrowood's most recent statutory annual         0.10     $62.50
                        statement re the company's financial condition (.1);
4/12/2023 Jesse Bair    Review correspondence with K. Brown, I. Nasatir, and        0.10     $62.50
                        G. Greenwood re potential changes to the Committee's
                        preliminary injunction exhibits (.1);
4/12/2023 Timothy Burns Prepare for meet and confer with Reed Smith re                 2.80   $2,730.00
                         mediation hearing before magistrate (.4); pre-meeting
                         with J. Bair re same (.2); participate in meet and confer
                         with Reed Smith (.4); post-meeting with J. Bair re
                         follow-up (.3); participate in calls with state court
                         counsel re same (.3); participate in conference with
                         PSZJ re mediation strategy (.5); post-call with J. Bair re
                         same and next-steps (.2); further consideration of
                         mediation issues in advance of upcoming call with
                         magistrate Cave (.5);
4/13/2023 Jesse Bair     Correspondence with I. Nasatir re Diocesan insurance          0.10     $62.50
                         coverage chart (.1);
4/13/2023 Jesse Bair     Analyze prior insurer settlement offers and counters          0.20    $125.00
                         (.1); draft insurance settlement overview for T. Burns in
                         preparation for initial settlement call with Judge Cave
                         (.1);
4/13/2023 Jesse Bair     Preliminary review of BSA decision relied upon by the         0.40    $250.00
                         Diocese in its preliminary injunction reply brief (.2);
                         answer I. Nasatir question re same (.1); review related
                         correspondence with I. Nasatir re same (.1);
4/13/2023 Jesse Bair     Correspondence with Reed Smith re meet and confer             0.20    $125.00
                         issues in advance of initial settlement call with Judge
                         Cave (.2);
4/13/2023 Jesse Bair     Correspondence with PSZJ team re preliminary                  0.10     $62.50
                         injunction hearing logistics (.1);
4/13/2023 Jesse Bair     Review mediation order entered in the bankruptcy case         0.20    $125.00
                         in preparation for initial settlement call with Judge Cave
                         (.2);
4/13/2023 Jesse Bair     Review Judge Cave's settlement conference standing            0.30    $187.50
                         order in preparation for initial settlement call with Judge
                         Cave (.2); correspondence with PSZJ team re same
                         (.1);
4/13/2023 Timothy Burns Email to paralegal re mediation materials (.1); met with       0.20    $195.00
                         J. Bair re mediation hearing issues (.1);
4/13/2023 Jesse Bair     Participate in conference with PSZJ team for insurance        1.00    $625.00
                         purposes re litigation strategy and ongoing case issues
                         (1.0);
4/13/2023 Jesse Bair     Participate in conference with T. Burns re upcoming           0.20    $125.00
                         settlement conference call with Judge Cave (.2);
4/13/2023 Alyssa Turgeon Research and identify various insurance case materials        1.70    $612.00
                         needed for review by T. Burns to prepare for upcoming
                         mediation call with Judge Cave (1.7);
4/13/2023 Jesse Bair     Review correspondence with G. Greenwood and K.                0.10     $62.50
                         Brown re preliminary injunction joint pretrial order (.1);
4/13/2023 Jesse Bair     Review monthly PSIP information received from the             0.10     $62.50
                         Debtor (.1);
4/14/2023 Jesse Bair     Review draft letter to the Court re the Committee's           0.10     $62.50
                         position re the parishes' and Diocese's position re
                         enforcement of CVA judgments against parishes
                         assets (.1);
4/14/2023 Jesse Bair    Review final version of the Committee's responses to          0.10     $62.50
                        the Diocese's motion to dismiss discovery requests
                        (.1);
4/14/2023 Jesse Bair    Participate in call with J. Stang, K. Dine, and T. Burns re   0.30    $187.50
                        outcome of Judge Cave initial settlement conference
                        call and next-steps re case mediation (.3);
4/14/2023 Jesse Bair    Participate in initial settlement conference call with        1.20    $750.00
                        Judge Cave (1.0); participate in post-call conference
                        with T. Burns re outcome of same and next-steps (.2);
4/14/2023 Jesse Bair    Participate in state court counsel meeting for insurance      0.80    $500.00
                        purposes re litigation and mediation updates and
                        strategy (.8);
4/14/2023 Timothy Burns Detailed review of case insurance materials in                5.60   $5,460.00
                        preparation for mediation call with Magistrate Judge
                        Cave and the insurers (2.4); conference with J. Bair re
                        same (.3); participate in call with Reed Smith re same
                        (.2); participate in mediation call with Judge Cave and
                        the insurers (1.0); participate in post-hearing
                        conference with J. Bair re outcome of same and next-
                        steps (.2); post-hearing call with PSZJ and J. Bair re
                        same (.3); participate in calls with sate court counsel re
                        Arrowood issues (.4); participate in state court counsel
                        meeting for insurance purposes re mediation strategy
                        (.8);
4/14/2023 Jesse Bair    Prepare for initial settlement conference call with Judge     0.40    $250.00
                        Cave, including conference with T. Burns re same (.4);
4/14/2023 Jesse Bair    Review the Diocese's letter to the Committee re the           0.10     $62.50
                        scope of the preliminary injunction order and the related
                        insurance schedules (.1);
4/14/2023 Jesse Bair    Review correspondence from P. Van Osselaer re                 0.10     $62.50
                        mediation developments (.1);
4/15/2023 Jesse Bair    Review the Debtor's letter to the Court objecting to          0.10     $62.50
                        potential Bishop deposition (.1);
4/15/2023 Jesse Bair    Review the Committee's letter to the Court re potential       0.10     $62.50
                        Bishop deposition (.1);
4/15/2023 Jesse Bair    Correspondence with I. Nasatir re the agreed coverage         0.10     $62.50
                        summary (.1);
4/16/2023 Jesse Bair    Review and edit draft Porter cross examination for trial      2.20   $1,375.00
                        (2.1); correspondence with I. Nasatir re same (.1);
4/16/2023 Jesse Bair    Review K. Brown correspondence re insurance                   0.10     $62.50
                        preliminary injunction arguments (.1);
4/16/2023 Jesse Bair    Research case law supporting the proposition that             0.50    $312.50
                        insurers act in bad faith if they tender their per
                        occurrence limits solely to end their duty to defend (.4);
                        correspondence with I. Nasatir re same (.1);
4/16/2023 Jesse Bair    Additional analysis of BSA opinion cited by the               0.40    $250.00
                        Diocese in support of its preliminary injunction reply
                        brief (.2); review and respond to I. Nasatir
                        correspondence re same (.2);
4/16/2023 Timothy Burns Review Diocese's apex deposition letter (.1); review       0.30   $292.50
                        the Committee's response to same (.1); review letter
                        from Committee to Judge Glenn re need for court
                        approval before executing on CVA judgment against
                        parish assets (.1);
4/17/2023 Jesse Bair    Review draft Committee response to the Diocese's           0.10    $62.50
                        letter re meet and confer re related insurance
                        schedules and associated proofs of claim (.1);
4/17/2023 Jesse Bair    Review and consider judicial notice of appointment of      0.10    $62.50
                        mediator (.1);
4/17/2023 Jesse Bair    Correspondence with I. Nasatir re Porter cross             0.10    $62.50
                        examination strategy (.1);
4/17/2023 Timothy Burns Reviewed email from PSZJ re magistrate hearing (.1)        0.20   $195.00
                        and Bankruptcy Court hearing (.1);
4/17/2023 Jesse Bair    Review the Diocese's response to the Committee's           0.10    $62.50
                        preliminary injunction witness objections (.1);
4/17/2023 Jesse Bair    Additional correspondence with I. Nasatir re potential     0.10    $62.50
                        preliminary injunction insurance exhibit (.1);
4/17/2023 Jesse Bair    Review J. Stang correspondence to the Committee re         0.10    $62.50
                        case developments and potential motion to dismiss
                        delay (.1);
4/18/2023 Jesse Bair    Review revised draft response to the Diocese's letter re   0.10    $62.50
                        related insurance schedules and associated proofs of
                        claim (.1);
4/18/2023 Timothy Burns Participate in call with the mediator re upcoming          0.50   $487.50
                        settlement call and related issues (.5);
4/18/2023 Jesse Bair    Review K. Brown correspondence re preliminary              0.10    $62.50
                        injunction arguments in advance of hearing (.1);
4/18/2023 Jesse Bair    Review Order setting additional pre-settlement             0.10    $62.50
                        conference call with Judge Cave and PVO (.1);
4/19/2023 Jesse Bair    Review Order sustaining the Diocese's fifth omnibus        0.30   $187.50
                        claims objection (.3);
4/19/2023 Jesse Bair    Review supplemental letter to the court from the           0.10    $62.50
                        Diocese re related insurance schedules and
                        associated proofs of claim (.1);
4/19/2023 Jesse Bair    Review various correspondence with J. Stang, the           0.20   $125.00
                        Diocese, the US Trustee, the Committee, and state
                        court counsel re potential extension of the preliminary
                        injunction and parameters re same (.2);
4/19/2023 Timothy Burns Participate in call with state court counsel re Arrowood   0.80   $780.00
                        issues (.8);
4/20/2023 Timothy Burns Participate in conference with J. Bair re upcoming         0.10    $97.50
                        settlement call with Judge Cave and PVO (.1);
4/20/2023 Jesse Bair    Analyze C. Moore expert report for insurance issues        0.70   $437.50
                        and critiques (.5); draft summary of same for PSZJ (.2);
4/20/2023 Jesse Bair    Participate in conference with T. Burns re preliminary     0.20   $125.00
                        injunction hearing outcome and settlements issues (.2);
4/20/2023 Jesse Bair    Participate in conference with T. Burns re upcoming        0.10    $62.50
                        settlement call with Judge Cave and PVO (.1);
4/20/2023 Timothy Burns Participate in conference with J. Bair re preliminary          0.20    $195.00
                        injunction hearing outcome and settlements issues (.2);
4/20/2023 Timothy Burns Participate in conference with PSZJ team re ongoing            0.90    $877.50
                        case issues for insurance purposes (.9);
4/20/2023 Jesse Bair    Review K. Dine correspondence to the Committee re              0.10     $62.50
                        preliminary injunction hearing outcome and mediation
                        developments (.1);
4/21/2023 Jesse Bair    Analyze Judge Cave's mediation scheduling order (.1);          0.10     $62.50
4/21/2023 Jesse Bair    Review correspondence with PSZJ team re upcoming               0.10     $62.50
                        settlement call with Judge Cave and PVO and strategy
                        re same (.1);
4/21/2023 Timothy Burns Prepare for settlement call with Judge Cave (.4);              2.00   $1,950.00
                        participate in settlement call (1.0); participate in portion
                        of state court counsel meeting re outcome of same and
                        related mediation issues (.5); participate in conference
                        with J. Bair re outcome of same (.1);
4/21/2023 Jesse Bair    Review B. Michael correspondence re motion to                  0.10     $62.50
                        dismiss adjournment (.1);
4/21/2023 Jesse Bair    Participate in pre-settlement conference call with Judge       1.00    $625.00
                        Cave and PVO re structure and logistics for upcoming
                        case mediation sessions (1.0);
4/21/2023 Jesse Bair    Participate in conference with T. Burns re outcome of          0.10     $62.50
                        state court counsel meeting (.1);
4/22/2023 Jesse Bair    Review materials re recent Diocesan insurance                  0.20    $125.00
                        activities (.2);
4/22/2023 Jesse Bair    Analyze B. Cawley memorandum re recent BSA                     0.60    $375.00
                        decision re insurance issues potentially impacting
                        DRVC case (.6);
4/24/2023 Timothy Burns Participate in conference with J. Bair re insurance            0.20    $195.00
                        strategy re upcoming mediation sessions (.2);
4/24/2023 Jesse Bair    Correspondence with B. Michael re upcoming                     0.20    $125.00
                        mediation sessions (.1); correspondence with T. Burns
                        and K. Dempski re same (.1);
4/24/2023 Jesse Bair    Participate in conference with T. Burns re insurance           0.20    $125.00
                        strategy re upcoming mediation sessions (.2);
4/24/2023 Jesse Bair    Review correspondence from B. Michael re impacted              0.20    $125.00
                        CVA cases if the Court denies the preliminary injunction
                        (.1); review spreadsheet re same (.1);
4/24/2023 Jesse Bair    Review minute entries in insurance district court actions      0.10     $62.50
                        re upcoming mediation sessions (.1);
4/24/2023 Jesse Bair    Review correspondence from B. Michael and J. Stang             0.10     $62.50
                        re weekly case strategy meeting (.1);
4/25/2023 Jesse Bair    Review information re logistics for upcoming May               0.10     $62.50
                        mediation sessions (.1);
4/25/2023 Timothy Burns Participate in conference with J. Bair re insurance            0.10     $97.50
                        strategy re upcoming mediation sessions (.1);
4/25/2023 Jesse Bair    Prepare for hearing on professional interim fee                0.80    $500.00
                        applications (.1); participate in hearing re BB's interim
                        fee application (.7);
4/25/2023 Jesse Bair      Participate in conference with T. Burns re insurance         0.10    $62.50
                          strategy re upcoming mediation sessions (.1);
4/25/2023 Jesse Bair      Review CFN's objection to the revised sale order (.1);       0.10    $62.50
4/25/2023 Jesse Bair      Review correspondence with the Committee and B.              0.10    $62.50
                          Michael re May 19 mediation session (.1);
4/26/2023 Jesse Bair      Participate in conference with T. Burns re insurance         0.10    $62.50
                          strategy in advance of upcoming mediation sessions
                          (.1);
4/26/2023 Timothy Burns   Review correspondence with PSZJ and the Diocese re           0.10    $97.50
                          expert issues (.1);
4/26/2023 Jesse Bair      Review and edit initial draft of mediation confidentiality   0.20   $125.00
                          agreement circulated by Arrowood (.1);
                          correspondence with PSZJ re potential edits to same
                          (.1);
4/26/2023 Jesse Bair      Review draft post-trial order re preliminary injunction      0.40   $250.00
                          evidence and insurance information (.2); review
                          correspondence with B. Michael, I. Nasatir, K. Brown,
                          and G. Greenwood re suggested edits to same (.2);
4/26/2023 Timothy Burns   Participate in conference with J. Bair re insurance          0.10    $97.50
                          strategy in advance of upcoming mediation sessions
                          (.1);
4/27/2023 Timothy Burns   Participate in conference with J. Bair re Arrowood           0.20   $195.00
                          strategy (.2);
4/27/2023 Jesse Bair      Review and edit initial draft of the Committee's             0.90   $562.50
                          mediation statement (.6); review I. Nasatir's suggested
                          edits to same (.2); review correspondence from K. Dine
                          and B. Michael re additional potential edits to same
                          (.1);
4/27/2023 Jesse Bair      Analysis re various insurance questions from Claro re        0.40   $250.00
                          supplemental insurer exposure and allocation analysis
                          (.3); correspondence with Claro re same (.1);
4/27/2023 Jesse Bair      Review mediator directive re May mediation sessions          0.10    $62.50
                          (.1);
4/27/2023 Jesse Bair      Review final version of stipulation and order re             0.10    $62.50
                          preliminary injunction evidence and certain insurance
                          information (.1);
4/27/2023 Jesse Bair      Review correspondence with Arrowood, the mediators,          0.20   $125.00
                          and B. Michael re mediation confidentiality and process
                          issues (.2);
4/27/2023 Jesse Bair      Participate in conference with T. Burns re Arrowood          0.20   $125.00
                          strategy (.2);
4/27/2023 Jesse Bair      Review correspondence from B. Michael re potential           0.10    $62.50
                          mediation agenda for May 10 session (.1);
4/27/2023 Timothy Burns   Review correspondence from PSZJ re upcoming                  0.10    $97.50
                          mediation session (.1);
4/28/2023 Jesse Bair      Analyze and respond to further Claro insurance               0.30   $187.50
                          questions re supplemental insurance exposure and
                          allocation analysis (.3);
4/28/2023 Jesse Bair    Prepare for state court counsel meeting (.1); participate    1.80     $1,125.00
                        in state court counsel meeting for insurance purposes
                        re mediation strategy (1.3); participate in post-call with
                        PSZJ and T. Burns re same (.4);
4/28/2023 Timothy Burns Review and revise the Committee's mediation                  2.80     $2,730.00
                        statement (.9); participate in call with J. Bair re same
                        (.2); participate in state court counsel meeting for
                        insurance purposes re mediation strategy (1.3);
                        participate in post-meeting call with PSZJ and J. Bair
                        re same (.4);
4/28/2023 Jesse Bair    Review and edit revised version of the Committee's           0.50      $312.50
                        mediation statement incorporating edits from T. Burns
                        (.3); participate in call with T. Burns re same (.2);
4/28/2023 Jesse Bair    Review alternative mediation confidentiality agreement       0.10        $62.50
                        circulated by Judge Cave (.1);
4/28/2023 Jesse Bair    Review and edit revised mediation confidentiality            0.20      $125.00
                        agreement circulated by Arrowood (.1);
                        correspondence with B. Michael and J. Stang re same
                        (.1);
4/28/2023 Jesse Bair    Review and edit most recent draft of the Committee's         0.50      $312.50
                        mediation statement (.4); correspondence with T. Burns
                        re same (.1);
4/29/2023 Jesse Bair    Review LMI and the Diocese's letter to Judge Cronan          0.10        $62.50
                        re settlement update (.1);
4/29/2023 Jesse Bair    Review revised version of the Committee's mediation          0.20      $125.00
                        statemen (.1); review correspondence with B. Michael
                        and state court counsel re same (.1);
4/30/2023 Jesse Bair    Analysis re Arrowood Guarantee Fund exposure (.2);           0.40      $250.00
                        correspondence with I. Nasatir, J. Stang, and state
                        court counsel re same (.2);
Total Hours and Fees                                                                 87.20   $58,710.50

                                             EXPENSES


Date                       Description                                                         Amount
4/1/2023                   First Quarter 2023 PACER (Public Access to Court                     $98.90
                           Electronic Records)
Total Expenses                                                                                   $98.90


                                       Timekeeper Summary
Name                                          Hours                  Rate                      Amount
Alyssa Turgeon                                  1.80              $360.00                      $648.00
Brenda Horn                                     0.80              $360.00                      $288.00
Brian Cawley                                   17.90              $420.00                     $7,518.00
Jesse Bair                                     41.90              $625.00                    $26,187.50
Leakhena Au                                     0.10              $420.00                       $42.00
Nathan Kuenzi                                   0.10              $420.00                       $42.00
Name            Hours       Rate                  Amount
Timothy Burns    24.60   $975.00                $23,985.00



                         Total Due This Invoice: $58,809.40
                                    10 E. Doty St., Suite 600
                                  Madison, Wisconsin 53703-3392
                                          608-286-2302
                                       www.BurnsBair.com

The Official Committee of Unsecured Creditors of                     Issue Date :     6/1/2023
The Roman Catholic Diocese of Rockville Centre
                                                                           Bill # :     01146



Matter: Insurance

                          PROFESSIONAL SERVICES RENDERED


Date     Timekeeper           Narrative                                       Hours   Amount
5/1/2023 Leakhena Au          Participate in BB team conference re case        0.20    $84.00
                              developments and projects (.2);
5/1/2023 Jesse Bair           Participate in BB team conference re case        0.20   $125.00
                              developments and projects (.2);
5/1/2023 Timothy Burns        Conference with J. Bair re mediation strategy    0.70   $682.50
                              (.1); conference with BB team re insurance
                              strategy and related assignments (.2); review
                              and respond to B. Michael correspondence re
                              Committee mediation brief (.1); further review
                              of Committee mediation statement (.2); review
                              correspondence from J. Bair re Arrowood
                              exposure (.1);
5/1/2023 Jesse Bair           Review correspondence with B. Michael and I. 0.20       $125.00
                              Nasatir re Arrowood issues in connection with
                              the Committee's mediation statement (.1);
                              review T. Burns correspondence re same (.1);
5/1/2023 Brian Cawley         Participate in BB team conference re             0.20     $84.00
                              insurance strategy and related assignments
                              (.2)
5/1/2023 Jesse Bair           Review revised version of the Committee's        0.10     $62.50
                              mediation statement (.1);
5/1/2023 Alyssa Turgeon       Participate in BB team conference re             0.20     $72.00
                              insurance strategy and related assignments
                              (.2)
5/1/2023 Jesse Bair           Review the Court's Order granting in part and    0.60   $375.00
                              over-ruling in part the Diocese's 8th omnibus
                              claims objection (.6);
5/1/2023 Alyssa Turgeon       Draft mediation preparation binder for T. Burns 0.50    $180.00
                              (0.5);
5/1/2023 Jesse Bair           Participate in conference with T. Burns re       0.10     $62.50
                              insurance mediation strategy (.1);
5/1/2023 Jesse Bair      Review K. Dine and B. Michael                        0.10    $62.50
                         correspondence to the Committee re case
                         developments and mediation (.1);
5/1/2023 Jesse Bair      Review the Diocese's requests for admission          0.20   $125.00
                         to Arrowood re policy terms and language (.2);
5/1/2023 Nathan Kuenzi   Participate in BB team conference re case            0.20    $84.00
                         developments and projects (.2);
5/2/2023 Jesse Bair      Attend May 2 hearing re CFN sale for                 0.30   $187.50
                         insurance purposes (.3);
5/2/2023 Jesse Bair      Review and edit revised version of the               0.60   $375.00
                         Committee's draft mediation statement,
                         incorporating new Claro figures (.4); review
                         and respond to correspondence with B.
                         Michael re same and related insurance issues
                         (.2);
5/2/2023 Timothy Burns   Review and revise updated version of the             0.90   $877.50
                         Committee's mediation statement (.7); review
                         correspondence with J. Bair and B. Michael re
                         same (.2);
5/2/2023 Jesse Bair      Analyze Claro's revised valuation and                0.20   $125.00
                         insurance allocation analysis (.2);
5/3/2023 Jesse Bair      Review correspondence with B. Michael and            0.10    $62.50
                         the Committee re recent CVA jury verdict (.1);
5/3/2023 Jesse Bair      Correspondence with B. Michael and I. Nasatir        0.10    $62.50
                         re LMI SIR issues (.1);
5/3/2023 Jesse Bair      Review the Diocese's mediation statement             0.40   $250.00
                         (.4);
5/3/2023 Jesse Bair      Participate in call with B. Michael and I. Nasatir   0.30   $187.50
                         re BSA impact, if any, on DRVC claims (.3);
5/3/2023 Jesse Bair      Review the parishes' mediation statement (.3);       0.30   $187.50
5/4/2023 Jesse Bair      Review and respond to correspondence with            0.40   $250.00
                         PSZJ team and the mediators regarding
                         potential exchange of redacted Committee
                         mediation statement with the carriers (.2);
                         conference with T. Burns re same and overall
                         insurance strategy for upcoming mediation
                         sessions (.2);
5/4/2023 Jesse Bair      Review follow-up correspondence from the             0.10    $62.50
                         mediators re exchange of meditation
                         information and related issues (.1);
5/4/2023 Jesse Bair      Participate in portion of meeting with PSZJ          0.80   $500.00
                         team re mediation strategy for insurance
                         purposes (.7); participate in follow-up
                         conference with T. Burns re outcome of same
                         and agenda for upcoming mediation session
                         (.1);
5/4/2023 Jesse Bair      Participate in call with Claro re insurance          0.20   $125.00
                         allocation issues (.2);
5/4/2023 Nathan Kuenzi   Begin researching Delaware law re unfair             0.70   $294.00
                         claims handling practices in connection with
                         Arrowood strategy (.7);
5/4/2023 Jesse Bair      Review draft Claro mediation presentation (.3);   0.30    $187.50
5/4/2023 Timothy Burns   Participate in call with state court counsel re   0.70    $682.50
                         insurance mediation strategy (.1); participate
                         in call with J. Stang re same (.6);
5/4/2023 Jesse Bair      Participate in conference with B. Cawley re       0.70    $437.50
                         instructions for preparing Committee
                         insurance presentation for upcoming
                         mediation session (.4); draft follow-up
                         correspondence to B. Cawley providing
                         supplemental instructions and attaching
                         various case materials needed to prepare
                         presentation (.3);
5/4/2023 Brian Cawley    Participate in conference with J. Bair re         1.50    $630.00
                         instructions for preparing Committee
                         insurance presentation for upcoming
                         mediation session (.4); analyze documents
                         sent by J. Bair in connection with preparing
                         insurance presentation (.9); begin drafting
                         Committee insurance mediation presentation
                         (.2);
5/5/2023 Nathan Kuenzi   Draft outline of memorandum for T. Burns re       0.50    $210.00
                         unfair claims handling practices in connection
                         with Arrowood strategy (.5);
5/5/2023 Jesse Bair      Participate in supplemental call with T. Burns    0.10     $62.50
                         re outcome of state court counsel meeting and
                         preparations in advance of upcoming
                         mediation session (.1);
5/5/2023 Timothy Burns   Participate in conference with J. Bair re the     0.30    $292.50
                         Committee's mediation statement and
                         upcoming mediation session (.2); participate
                         in additional conference with J. Bair re
                         insurance strategy for upcoming mediation
                         session (.1);
5/5/2023 Brian Cawley    Continue drafting Committee insurance             2.50   $1,050.00
                         mediation presentation (2.2); participate in
                         conference with J. Bair re same and potential
                         edits (.2); correspondence with J. Bar re same
                         (.1);
5/5/2023 Jesse Bair      Conference with B. Cawley and answer              0.20    $125.00
                         questions re preparation of Committee
                         insurance presentation for upcoming
                         mediation session (.2);
5/5/2023 Brian Cawley    Continue drafting Committee insurance             4.00   $1,680.00
                         mediation presentation (4.0);
5/5/2023 Jesse Bair      Participate in call with T. Burns re Arrowood     0.10     $62.50
                         and mediation strategy (.1)
5/5/2023 Nathan Kuenzi   Continue detailed research re Delaware            5.50   $2,310.00
                         common law, statutes, and regulations re unfair
                         claims handling practices in connection with
                         Arrowood strategy (5.5);
5/5/2023 Jesse Bair       Participate in state court counsel meeting for     1.20    $750.00
                          insurance purposes re mediation preparations
                          and strategy for upcoming sessions (1.2);
5/5/2023 Jesse Bair       Review Reed Smith supplemental submission          0.10     $62.50
                          re insurance expert work (.1);
5/5/2023 Jesse Bair       Correspondence with I. Nasatir re Committee        0.10     $62.50
                          insurance mediation presentation (.1);
5/6/2023 Jesse Bair       Review Claro analysis re revised insurance         0.20    $125.00
                          "buckets" for POCs (.1); correspondence with
                          Claro re same and additional analysis needed
                          (.1);
5/6/2023 Jesse Bair       Begin reviewing and editing initial draft of the   1.90   $1,187.50
                          Committee's insurance mediation
                          presentation, including drafting additional
                          sections of same (1.9);
5/7/2023 Jesse Bair       Analyze and incorporate T. Burns' suggested        0.30    $187.50
                          edits into draft Committee insurance
                          mediation presentation (.2); correspondence
                          with I. Nasatir re same (.1);
5/7/2023 Nathan Kuenzi    Continue detailed research re Delaware             1.50    $630.00
                          common law, statutes, and regulations re unfair
                          claims handling practices in connection with
                          Arrowood strategy (1.5);
5/7/2023 Jesse Bair       Review J. Stang correspondence re draft            0.10     $62.50
                          Committee insurance mediation presentation
                          (.1);
5/7/2023 Jesse Bair       Continue reviewing and editing initial draft of    1.30    $812.50
                          the Committee's insurance mediation
                          presentation, including drafting additional
                          sections of same (1.3);
5/8/2023 Alyssa Turgeon   Participate in BB team conference re case          0.10     $36.00
                          strategy and related assignments (.1);
5/8/2023 Jesse Bair       Participate in conference with T. Burns re         0.20    $125.00
                          outcome of call with the mediator (.2);
5/8/2023 Timothy Burns    Participate in call with the mediator re           1.40   $1,365.00
                          insurance issues and upcoming mediation
                          sessions (1.0); participate in follow-up meeting
                          with J. Bair re same and outcome of mediator
                          call (.2); participate in BB team conference re
                          case strategy and related assignments (.1);
                          review the Diocese's motion to quash certain
                          Arrowood subpoenas (.1);
5/8/2023 Nathan Kuenzi    Participate in BB team conference re case          0.10     $42.00
                          strategy and related assignments (.1);
5/8/2023 Leakhena Au      Participate in BB team meeting re case             0.10     $42.00
                          developments and related assignment (.1);
5/8/2023 Jesse Bair       Correspond with T. Burns re key insurance          0.10     $62.50
                          materials for review in advance of upcoming
                          mediation session (.1);
5/8/2023 Jesse Bair       Review the Diocese's motion to quash certain       0.10     $62.50
                          Arrowood subpoenas (.1);
5/8/2023 Jesse Bair      Participate in BB team meeting re case                0.10     $62.50
                         developments and related assignment (.1);
5/8/2023 Jesse Bair      Review monthly PSIP information provided by           0.10     $62.50
                         the Diocese (.1);
5/8/2023 Nathan Kuenzi   Finish research re Delaware unfair claims             4.20   $1,764.00
                         handing practices in connection with Arrowood
                         strategy (1.9); draft email memorandum for T.
                         Burns summarizing research re same (2.3);
5/8/2023 Jesse Bair      Participate in conference and provide                 0.40    $250.00
                         instructions to B. Cawley re preparing
                         supplemental insurance presentations for
                         potential use during upcoming mediation
                         sessions (.4);
5/8/2023 Brian Cawley    Participate in conference with J. Bair re             0.40    $168.00
                         preparing supplemental insurance
                         presentations for potential use during
                         upcoming mediation sessions (.4);
5/8/2023 Brian Cawley    Participate in BB team conference re case             0.10     $42.00
                         strategy and related assignments (.1);
5/9/2023 Nathan Kuenzi   Draft supplemental email memorandum for T.            1.20    $504.00
                         Burns addressing additional unfair claims
                         practices issues under Delaware law in
                         connection with Arrowood strategy (1.2);
5/9/2023 Timothy Burns   Travel from Madison to New York for mediation         5.80   $2,827.50
                         [billed at 1/2 travel rate] (5.8);
5/9/2023 Brian Cawley    Draft additional Committee insurance                  3.50   $1,470.00
                         mediation presentation focusing on unfair
                         claims handling and deceptive practices
                         issues (2.0); draft additional Committee
                         insurance mediation presentation with
                         particular focus on certain LMI/Interstate issues
                         (1.4); correspondence with J. Bair re insurance
                         presentations (.1);
5/9/2023 Timothy Burns   Participate in call with J. Bair re Arrowood          5.40   $5,265.00
                         litigation strategy (.2); prepare for call with
                         state court counsel re Arrowood issues and
                         strategy (.8); participate in call with state court
                         counsel group re same (.8); prepare for
                         upcoming mediation session, including review
                         of the parties' mediation statements, draft
                         presentations, and other case insurance
                         materials (3.1); participate in conference with
                         J. Bair re mediation strategy (.5);
5/9/2023 Jesse Bair      Participate in conference with T. Burns re            0.50    $312.50
                         mediation preparations and strategy (.5);
5/9/2023 Jesse Bair       Review and edit initial draft of PSZJ mediation   1.00    $625.00
                          presentation (.3); review correspondence with
                          G. Greenwood and I. Nasatir re potential edits
                          to same (.2); review I. Nasatir's suggested
                          changes to same (.2); draft additional
                          insurance sections of same (.2); continue
                          analyzing insurance materials in preparation
                          for tomorrow's mediation session (.1);
5/9/2023 Jesse Bair       Participate in call with T. Burns re Arrowood     0.20    $125.00
                          litigation strategy (.2);
5/9/2023 Jesse Bair       Travel from Madison to New York for mediation     7.20   $2,250.00
                          [billed at 1/2 travel rate] (7.2);
5/9/2023 Nathan Kuenzi    Research issues regarding insurance               3.30   $1,386.00
                          commissioner oversight and regulatory actions
                          re insolvent insurance companies in
                          connection with Arrowood strategy (3.3);
5/9/2023 Jesse Bair       Draft supplemental presentation for potential     0.90    $562.50
                          use at upcoming mediation re alternative
                          insurance settlement strategies (.9);
5/9/2023 Jesse Bair       Review insurance portion of prior Committee       0.10     $62.50
                          mediation statement recently sent to Judge
                          Cave (.1);
5/10/2023 Jesse Bair      Participate in post-mediation session meeting     0.50    $312.50
                          with PSZJ, T. Burns, and state court counsel re
                          outcome of session and next-steps re case
                          mediation (.5);
5/10/2023 Timothy Burns   Return travel to Madison from New York            5.40   $2,632.50
                          mediation [billed at 1/2 travel rate] (5.4);
5/10/2023 Timothy Burns   Participate in pre-mediation meeting with         7.10   $6,922.50
                          PSZJ and J. Bair re strategy for upcoming
                          session and related presentations (1.5);
                          participate in Committee-only mediation
                          session (5.1); participate in post-mediation
                          session meeting with PSZJ and state court
                          counsel re outcome of session and next-steps
                          (.5);
5/10/2023 Jesse Bair      Return travel to Madison from New York            4.60   $1,437.50
                          mediation [billed at 1/2 travel rate] (4.6);
5/10/2023 Jesse Bair      Analyze coverage materials in preparation for     0.30    $187.50
                          mediation session (.3);
5/10/2023 Jesse Bair      Participate in portion of Committee meeting       1.10    $687.50
                          for insurance purposes re outcome of
                          mediation session and next-steps (1.1);
5/10/2023 Jesse Bair      Review Claro revised mediation presentation       0.20    $125.00
                          (.2);
5/10/2023 Jesse Bair      Participate in pre-mediation meeting with         1.50    $937.50
                          PSZJ and T. Burns re strategy for upcoming
                          session and related presentations (1.5);
5/10/2023 Jesse Bair      Participate in Committee-only mediation           5.10   $3,187.50
                          session with Judge Cave and Paul van
                          Osselaer (5.1);
5/10/2023 Jesse Bair          Review B. Cawley drafts of mediation                  0.20    $125.00
                              presentations re potential alternative
                              settlements strategies (.2);
5/10/2023 Brenda Horn-Edwards Draft monthly BB fee statement (.6); generate         0.80    $288.00
                              and edit Exhibit A to same (.1); correspond
                              with J. Bair re same (.1);
5/11/2023 Jesse Bair          Review Committee agenda for upcoming team             0.10     $62.50
                              strategy call (.1);
5/11/2023 Jesse Bair          Brief review re Arrowood's 30(b)(6) notice on         0.10     $62.50
                              the Diocese (.1);
5/11/2023 Jesse Bair          Review Arrowood's motion to compel letter to          0.20    $125.00
                              the Court re Diocesan deposition testimony
                              (.2);
5/11/2023 Jesse Bair          Prepare for call with T. Law re Arrowood              0.30    $187.50
                              discovery issues (.1); participate in call with T.
                              Law re same (.2);
5/11/2023 Jesse Bair          Review correspondence with B. Michael, J.             0.10     $62.50
                              Stang, and the Committee re additional
                              Thursday mediation session (.1);
5/11/2023 Jesse Bair          Participate in call with T. Burns re outcome of       0.30    $187.50
                              strategy call with PSZJ and insurance strategy
                              for upcoming mediation session (.3);
5/11/2023 Jesse Bair          Participate in conference with B. Cawley re           0.20    $125.00
                              mediation session outcome and next-steps
                              (.2);
5/11/2023 Timothy Burns       Participate in weekly team strategy call with         2.50   $2,437.50
                              PSZJ for insurance purposes re ongoing case
                              tasks and strategy (1.4); participate in call with
                              I. Nasatir re notice testimony (.2); participate in
                              call with J. Bair re insurance strategy for
                              upcoming mediation session (.3); additional
                              analysis re same (.4); participate in call with
                              state court counsel re same (.2);
5/11/2023 Jesse Bair          Participate in call with B. Michael re Arrowood       0.30    $187.50
                              discovery and case insurance issues (.3);
5/12/2023 Timothy Burns       Participate in conference with J. Bair re             1.10   $1,072.50
                              insurance mediation strategy (.2); review
                              correspondence from B. Michael re upcoming
                              mediation session (.1); review
                              correspondence from B. Michael re agenda for
                              upcoming state court counsel meeting (.1);
                              review Arrowood's letter re motion to compel
                              deposition testimony (.1); review Arrowood's
                              response to the Diocese's motion to quash
                              (.2); review the Diocese's response to
                              Arrowood's letter to the court re deposition
                              motion to compel (.2); participate in call with J.
                              Bair re outcome of state court counsel meeting
                              and related insurance issues (.2);
5/12/2023 Jesse Bair          Review Arrowood's response to the Diocese's           0.20    $125.00
                              motion to quash certain subpoenas (.2);
5/12/2023 Jesse Bair       Review correspondence from the mediators re            0.10     $62.50
                           supplemental May 18 mediation session (.1);
5/12/2023 Jesse Bair       Review prior Committee intervention briefing           0.40    $250.00
                           in the Arrowood insurance adversary
                           proceeding (.2); participate in conference with
                           L. Au re supplemental research needed re
                           same in connection with potential expanded
                           Committee discovery rights in Arrowood
                           district court action (.2);
5/12/2023 Jesse Bair       Participate in conference with T. Burns re             0.20    $125.00
                           insurance mediation strategy (.2);
5/12/2023 Jesse Bair       Brief review of case law re the scope of a             0.70    $437.50
                           Committee's intervention rights under Section
                           1109(b) (.2); review the district court's prior
                           order granting in part and denying in part
                           Arrowood's earlier motion to compel (.1); draft
                           correspondence to the Diocese re Committee
                           attendance at all future depositions in the
                           Arrowood district court action (.4);
5/12/2023 Jesse Bair       Participate in conference with PSZJ team re            0.80    $500.00
                           Plan issues and related strategy (.8);
5/12/2023 Jesse Bair       Participate in state court counsel meeting for         0.90    $562.50
                           insurance purposes re mediation and litigation
                           strategy (.7); participate in follow-up call with T.
                           Burns re outcome of same and next-steps (.2);
5/12/2023 Leakhena Au      Detailed research re Second Circuit case law           6.80   $2,856.00
                           re the parameters of a Committee's discovery
                           and other litigation rights as a party in interest
                           under Section 1109(b) in connection with
                           Arrowood adversary proceeding (6.8);
5/12/2023 Jesse Bair       Review the Diocese's response to Arrowood's            0.20    $125.00
                           motion to compel deposition testimony (.2);
5/13/2023 Jesse Bair       Review T. Burns correspondence re writ of              0.10     $62.50
                           mandamus filed by the Diocese of Brooklyn
                           seeking to compel the Delaware Insurance
                           Commissioner to put Arrowood into liquidation
                           (.1);
5/15/2023 Jesse Bair       Review the Diocese of Brooklyn's writ of               0.40    $250.00
                           mandamus seeking to compel the Delaware
                           Insurance Commissioner to put Arrowood into
                           liquidation (.4);
5/15/2023 Jesse Bair       Review and respond to correspondence with              0.20    $125.00
                           B. Michael and I. Nasatir re the Diocese of
                           Brooklyn's Arrowood writ and Committee
                           attendance at future Arrowood depositions
                           (.2);
5/15/2023 Jesse Bair       Participate in conference with T. Burns re case        0.30    $187.50
                           insurance strategy (.3);
5/15/2023 Alyssa Turgeon   Participate in BB team conference re                   0.10     $36.00
                           insurance strategy and related assignments
                           (.1);
5/15/2023 Nathan Kuenzi   Participate in BB team conference re                0.10     $42.00
                          insurance strategy and case assignments (.1);
5/15/2023 Jesse Bair      Review Judge Rochon's order in the Arrowood         0.10     $62.50
                          district court action re hearing on the parties'
                          current discovery disputes (.1);
5/15/2023 Jesse Bair      Review and respond to correspondence with           0.20    $125.00
                          Reed Smith re Committee attendance at future
                          depositions in the Arrowood district court
                          action (.2);
5/15/2023 Leakhena Au     Participate in BB team conference re                0.10     $42.00
                          insurance strategy and related assignments
                          (.1);
5/15/2023 Jesse Bair      Correspondence with B. Cawley re Diocese of         0.10     $62.50
                          Brooklyn expert affidavit filed in connection
                          with Arrowood writ (.1);
5/15/2023 Brian Cawley    Participate in BB team conference re                0.10     $42.00
                          insurance strategy and related assignments
                          (.1);
5/15/2023 Leakhena Au     Continue detailed research re Second Circuit        5.40   $2,268.00
                          case law re the parameters of a Committee's
                          discovery and other litigation rights as a party
                          in interest under Section 1109(b) in connection
                          with Arrowood adversary proceeding (3.6);
                          draft email memorandum summarizing
                          research results (1.8);
5/15/2023 Jesse Bair      Participate in portion of Committee meeting         0.70    $437.50
                          for insurance purposes re case mediation and
                          litigation strategy (.7);
5/15/2023 Timothy Burns   Participate in conference with J. Bair re case      2.30   $2,242.50
                          insurance strategy (.3); participate in call with
                          state court counsel re insurance strategy (.1);
                          participate in BB team meeting re case
                          strategy and related assignments (.1);
                          participate in call with state court counsel and
                          J. Bair re Arrowood issue (.3); review research
                          results re scope of the Committee's
                          intervention rights (.2); review agenda for
                          upcoming Committee meeting (.1); participate
                          in Committee meeting for insurance purposes
                          re case mediation and litigation strategy (1.0);
                          participate in post-call with I. Nasatir re
                          Arrowood issues (.2);
5/15/2023 Jesse Bair      Participate in conference with T. Burns and         0.30    $187.50
                          state court counsel re Arrowood strategy (.3);
5/16/2023 Brian Cawley    Research regarding writ of mandamus exhibits        1.40    $588.00
                          submitted in Delaware action requesting that
                          the Delaware Insurance Commissioner put
                          Arrowood into liquidation (1.2);
                          correspondence with J. Bair and T. Burns re
                          same (.2);
5/16/2023 Jesse Bair      Review correspondence with the Diocese and          0.10     $62.50
                          PSZJ re upcoming mediation session (.1);
5/16/2023 Jesse Bair      Answer L. Au questions re Arrowood litigation       0.10     $62.50
                          project (.1);
5/16/2023 Jesse Bair      Participate in conference with T. Burns and L.      0.40    $250.00
                          Au re Arrowood strategy and related
                          assignments (.4);
5/16/2023 Leakhena Au     Begin drafting proposed complaint against           6.40   $2,688.00
                          Arrowood regarding Arrowood's unfair and
                          deceptive claims practices (6.4);
5/16/2023 Jesse Bair      Participate in conference with T. Burns re          0.40    $250.00
                          insurance mediation strategy (.4);
5/16/2023 Jesse Bair      Attend Court hearing for insurance purposes         0.90    $562.50
                          re claim objection discovery issues (.9);
5/16/2023 Timothy Burns   Participate in conference with J. Bair re           2.00   $1,950.00
                          insurance mediation strategy (.4); participate
                          in conference with J. Bair and L. Au re
                          Arrowood strategy and related assignments
                          (.4); review correspondence with the Diocese
                          and PSZJ re upcoming mediation session (.2);
                          begin preparing for next mediation session
                          (.1); attend Court hearing for insurance
                          purposes re claim objection discovery issues
                          (.9);
5/17/2023 Leakhena Au     Draft email summary re cause of action              1.10    $462.00
                          against Arrowood re Arrowood's unfair and
                          deceptive claims practices (1.1);
5/17/2023 Jesse Bair      Review the Diocese of Brooklyn's expert             0.40    $250.00
                          affidavit re Arrowood's financial condition (.3);
                          correspondence with I. Nasatir re same (.1);
5/17/2023 Leakhena Au     Continue drafting proposed complaint against        4.60   $1,932.00
                          Arrowood regarding Arrowood's unfair and
                          deceptive claims practices (4.6);
5/17/2023 Jesse Bair      Preliminary research re potential Arrowood          0.10     $62.50
                          claim (.1);
5/17/2023 Jesse Bair      Review the parties' joint status update letter to   0.10     $62.50
                          the Court in the Evanston district court action
                          (.1);
5/18/2023 Timothy Burns   Travel to New York from Madison for mediation       5.20   $2,535.00
                          [billed at 1/2 travel rate] (5.2);
5/18/2023 Jesse Bair      Prepare for mediation session (.1); participate     4.80   $3,000.00
                          in day 1 of mediation (3.7); participate in post-
                          mediation meeting with J. Stang and T. Burns
                          re case insurance strategy (1.0);
5/18/2023 Jesse Bair      Travel to New York from Madison for mediation       4.60   $1,437.50
                          [billed at 1/2 travel rate] (4.6);
5/18/2023 Leakhena Au     Analysis re alternative strategies for bringing     2.40   $1,008.00
                          unfair claims practices cause of action against
                          Arrowood (2.4);
5/18/2023 Timothy Burns   Participate in day 1 of mediation (3.7);            4.70   $4,582.50
                          participate in post-mediation meeting with J.
                          Stang and J. Bair re case insurance strategy
                          (1.0);
5/18/2023 Jesse Bair      Review the Diocese's and Arrowood's letter to 0.10          $62.50
                          Judge Rochon re upcoming discovery dispute
                          hearing (.1);
5/19/2023 Timothy Burns   Participate in day 2 of mediation session        13.40   $13,065.00
                          (13.4);
5/19/2023 Jesse Bair      Participate in portion of day 2 of mediation     11.80    $7,375.00
                          session (11.8);
5/19/2023 Timothy Burns   Travel Rate for local travel to and from         1.00      $487.50
                          mediation [billed at 1/2 travel time] (1.0);
5/19/2023 Jesse Bair      Return travel from New York mediation to         3.10      $968.75
                          Madison [billed at 1/2 travel time] (3.1);
5/20/2023 Timothy Burns   Return travel from New York mediation to         8.60     $4,192.50
                          Madison [billed at 1/2 travel time] (8.6);
5/20/2023 Jesse Bair      Review correspondence with state court           0.10       $62.50
                          counsel re mediation strategy (.1);
5/21/2023 Jesse Bair      Correspondence with T. Burns re outcome of       0.10       $62.50
                          state court counsel meeting re potential
                          mediation counter (.1);
5/21/2023 Jesse Bair      Prepare for state court counsel meeting (.1);    1.40      $875.00
                          participate in meeting with PSZJ and state
                          court counsel for insurance purposes re
                          mediation strategy and potential next counter
                          (1.3);
5/21/2023 Timothy Burns   Correspondence with J. Bair re outcome of        0.10       $97.50
                          state court counsel meeting re mediation
                          strategy (.1);
5/22/2023 Jesse Bair      Draft Section 3420 notice letter to the carriers 1.10      $687.50
                          (1.0); correspondence with T. Burns re same
                          (.1);
5/22/2023 Jesse Bair      Draft letter to the Court re the Committee's     0.20      $125.00
                          participation at the upcoming Arrowood
                          discovery hearing (.2);
5/22/2023 Jesse Bair      Participate in conference with T. Burns re the   0.20      $125.00
                          mediators' recent correspondence and
                          potential response to same (.2);
5/22/2023 Karen Dempski   Finalize and file with the Court letter re the   0.10       $36.00
                          Committee's participation at the upcoming
                          Arrowood discovery hearing (.1);
5/22/2023 Jesse Bair      Analyze W. Chapin deposition transcript in       2.10     $1,312.50
                          preparation for Arrowood discovery hearing
                          (2.1);
5/22/2023 Jesse Bair      Review correspondence from the mediators re 0.20           $125.00
                          potential next-steps (.1); review
                          correspondence with J. Stang and state court
                          counsel re same (.1);
5/22/2023 Timothy Burns   Review and consider correspondence from the          1.50   $1,462.50
                          mediators re potential next-steps(.2);
                          participate in call with J. Bair re same (.2);
                          prepare for state court counsel meeting re
                          same (.4); participate in meeting with state
                          court counsel and PSZJ for insurance
                          purposes re mediation strategy and potential
                          response to the mediators' recent
                          correspondence (.7);
5/22/2023 Jesse Bair      Prepare for meeting with state court counsel         0.80    $500.00
                          and PSZJ re mediation strategy (.1);
                          participate in meeting with state court counsel
                          and PSZJ for insurance purposes re mediation
                          strategy and potential response to the
                          mediators' recent correspondence (.7);
5/23/2023 Jesse Bair      Participate in Committee meeting for                 1.10    $687.50
                          insurance purposes re mediation strategy and
                          response to the mediators (1.1);
5/23/2023 Jesse Bair      Review initial draft of Committee letter to the      0.20    $125.00
                          mediators (.1); review suggested edits to
                          same from state court counsel (.1);
5/23/2023 Jesse Bair      Preliminary review of email memorandum from          0.10     $62.50
                          L. Au re cause of action against Arrowood re
                          Arrowood's unfair and deceptive claims
                          practices (.1);
5/23/2023 Jesse Bair      Participate in call with T. Burns re draft Section   0.20    $125.00
                          3420 notice letter, the Committee's draft
                          response letter to the mediators, and
                          upcoming Committee call re mediation
                          strategy (.2);
5/23/2023 Jesse Bair      Participate in conference with B. Cawley re          0.30    $187.50
                          additional research needed in connection with
                          finalizing Section 3420 notice letters to the
                          insurers (.2); answer follow-up questions from
                          B. Cawley in connection with same (.1);
5/23/2023 Brian Cawley    Participate in conferences with J. Bair re           3.50   $1,470.00
                          Section 3420 notice letters project (.3); draft
                          revised version of Section 3420 notice letters
                          to each of the Diocese's carriers (3.2);
5/23/2023 Jesse Bair      Review, edit, and draft additional portions of       5.10   $3,187.50
                          proposed complaint against Arrowood
                          regarding Arrowood's unfair and deceptive
                          claims practices (5.1);
5/23/2023 Jesse Bair      Correspondence with I. Nasatir and J. Stang re       0.10     $62.50
                          draft Section 3420 notice letter to the insurers
                          (.1);
5/23/2023 Timothy Burns   Participate in call with J. Bair re Committee     2.10   $2,047.50
                          response letter to the mediators and upcoming
                          Committee call re mediation strategy (.2);
                          participate in Committee meeting for
                          insurance purposes re mediation strategy and
                          response to the mediators (1.1); review
                          correspondence from I. Nasatir re Section
                          3420 notice letter (.1); review correspondence
                          from J. Stang re same (.1): review draft
                          Committee response letter to mediators (.2);
                          review and respond to correspondence with
                          state court counsel re same (.2); review draft
                          Section 3420 letter (.1); review
                          correspondence from the mediator re
                          mediation developments (.1);
5/23/2023 Jesse Bair      Review additional correspondence from the         0.10     $62.50
                          mediators re potential next-steps (.1);
5/24/2023 Jesse Bair      Review I. Nasatir correspondence re recent        0.10     $62.50
                          Diocese insurance activities (.1);
5/24/2023 Jesse Bair      Review and consider Order cancelling              0.20    $125.00
                          Arrowood discovery hearing and related
                          orders designating Judge Cave as magistrate
                          for all pre-trial purposes (.1); correspondence
                          with PSZJ re same (.1);
5/24/2023 Timothy Burns   Review correspondence from PSZJ re                0.30    $292.50
                          mediation developments (.1); review
                          correspondence from the mediators re same
                          (.1); review final version of the Committee's
                          response letter to mediators (.1);
5/24/2023 Jesse Bair      Review final version of Committee letter to the   0.20    $125.00
                          mediators and mediators' response to same
                          (.1); review additional correspondence with J.
                          Stang and state court counsel re same (.1);
5/25/2023 Jesse Bair      Review suggested edits received from J.           0.50    $312.50
                          Stang and I. Nasatir to draft Section 3420
                          notice letters (.1); review updated version of
                          notice letters received from B. Cawley (.1);
                          begin drafting revised version of insurer
                          Section 3420 notice letters incorporating
                          suggested edits (.3);
5/25/2023 Jesse Bair      Participate in portion of meeting with PSZJ       0.60    $375.00
                          team for insurance purposes re mediation and
                          insurance strategy (.6);
5/25/2023 Timothy Burns   Participate in portion of meeting with PSZJ       0.50    $487.50
                          team for insurance purposes re mediation and
                          insurance strategy (.5);
5/25/2023 Jesse Bair      Review Judge Cave's orders re discovery           0.10     $62.50
                          status update letters in the LMI and Evanston
                          actions (.1);
5/26/2023 Jesse Bair      Participate in conference with T. Burns re        0.20    $125.00
                          insurance case strategy (.2);
5/26/2023 Timothy Burns   Participate in conference with J. Bair re            3.80   $3,705.00
                          insurance case strategy (.2); correspondence
                          with state court counsel re Arrowood issues
                          (.1); review correspondence with PSZJ re
                          upcoming state court counsel meeting (.1);
                          reviewed Order re Ninth Objection to Claims
                          (.6); review motion to compel order (.1); review
                          correspondence with PSZJ and the
                          Committee re recent communications with the
                          mediators and next-steps (.2); review
                          correspondence from J. Bair re discovery
                          developments in the insurance district court
                          actions (.1); review correspondence from I.
                          Nasatir re case insurance issues (.1); review
                          PSZJ's next-steps memo (.2); review
                          discovery order from Judge Cave (.1); review
                          orders re assignment of magistrate for all pre-
                          trial purposes in certain insurance district court
                          actions (.2); participate in state court counsel
                          meeting for insurance purposes re mediation
                          and litigation strategy (.9); review and revise
                          proposed unfair and deceptive claims
                          practices complaint against Arrowood (.8);
                          review the mediators' report to the court (.1);
5/26/2023 Jesse Bair      Continue revising and finalizing Section 3420        1.50    $937.50
                          notice letters and transmit same to the carriers
                          (1.5);
5/26/2023 Jesse Bair      Review the mediators' status report (.1);            0.10     $62.50
5/26/2023 Jesse Bair      Review T. Burns' suggested edits to the              0.40    $250.00
                          proposed Arrowood unfair and deceptive
                          claims practices complaint (.2);
                          correspondence with PSZJ re same and
                          related demand letter (.2);
5/26/2023 Jesse Bair      Review the Court's order sustaining in part the      0.30    $187.50
                          Diocese's ninth omnibus claims objection (.3);
5/26/2023 Jesse Bair      Participate in state court counsel meeting for       0.80    $500.00
                          insurance purposes re mediation and litigation
                          strategy (.8);
5/27/2023 Jesse Bair      Provide instructions to L. Au re drafting            0.20    $125.00
                          demand letter re proposed unfair and
                          deceptive claims practices complaint against
                          Arrowood (.2);
5/27/2023 Jesse Bair      Review correspondence with J. Stang and T.           0.10     $62.50
                          Burns re potential edits to draft unfair and
                          deceptive claims practices complaint against
                          Arrowood (.1);
5/27/2023 Jesse Bair      Correspondence with G. Greenwood and J.              0.10     $62.50
                          Stang re draft demand letter re proposed
                          Arrowood unfair and deceptive claims
                          practices complaint (.1);
5/29/2023 Jesse Bair      Preliminary review re J. Stang's suggested         0.10     $62.50
                          edits to the proposed Arrowood unfair and
                          deceptive claims practices complaint (.1);
5/29/2023 Jesse Bair      Review the Diocese's 12th omnibus claims           0.10     $62.50
                          objection regarding late-filed claims (.1);
5/29/2023 Jesse Bair      Review the Diocese's eleventh omnibus              0.20    $125.00
                          claims objection regarding BSA claims (.2);
5/29/2023 Jesse Bair      Analyze and respond to insurance question          0.30    $187.50
                          from B. Michael re insurance impact, if any, of
                          prosecution of certain state court lawsuits
                          disallowed under the Court's recent order re
                          pre-1957 abuse (.3);
5/30/2023 Jesse Bair      Participate in portion of Committee meeting        0.60    $375.00
                          for insurance purposes re mediation and
                          litigation strategy (.6);
5/30/2023 Jesse Bair      Review and edit First Amended Trust                0.20    $125.00
                          Allocation Protocol (.2);
5/30/2023 Jesse Bair      Review and respond to correspondence with          0.50    $312.50
                          the Diocese re potential amendment to the
                          Committee Intervention Order re discovery
                          access in the Arrowood district court action
                          (.1); prepare draft correspondence to
                          Arrowood re same and requesting discovery
                          meet and confer (.4);
5/30/2023 Jesse Bair      Review and edit First Amended Trust                0.20    $125.00
                          Agreement (.2);
5/30/2023 Jesse Bair      Review and edit draft Committee                    1.50    $937.50
                          memorandum re motion to dismiss issues,
                          including drafting of insurance section of same
                          (1.3); review correspondence with I. Nasatir re
                          same (.1); participate in conference with T.
                          Burns re same (.1);
5/30/2023 Jesse Bair      Participate in call with T. Burns re outcome of    0.10     $62.50
                          Purdue Pharma decision (.1);
5/30/2023 Timothy Burns   Participate in call with state court counsel re    1.90   $1,852.50
                          insurance strategy issues (.1); review Purdue
                          Pharma decision (.8); conference with J. Bair
                          re same (.1); preliminary analysis re potential
                          Committee Second Amended Plan edits (.1);
                          participate in conference with J. Bair re motion
                          to dismiss memo (.1); correspondence with B.
                          Michael re team strategy meeting (.1);
                          participate in portion of Committee meeting for
                          insurance purposes re mediation and litigation
                          strategy (.6);
5/30/2023 Jesse Bair      Review and edit for insurance purposes the         2.00   $1,250.00
                          Second Amended Committee Plan (1.9);
                          participate in conference with T. Burns re same
                          (.1);
5/30/2023 Jesse Bair      Review correspondence with I. Nasatir and K.         0.10     $62.50
                          Dine re insurance impact, if any, of prosecution
                          of certain state court lawsuits disallowed under
                          the Court's recent order re pre-1957 abuse
                          (.1);
5/30/2023 Leakhena Au     Draft demand letter re proposed unfair and           2.30    $966.00
                          deceptive claims practices complaint against
                          Arrowood (2.3);
5/31/2023 Timothy Burns   Participate in conference with J. Bair re motion     4.30   $4,192.50
                          to dismiss memo (.1); review and revise
                          motion to dismiss memo for insurance
                          purposes (.8); participate in strategy call with
                          PSZJ for insurance purposes re litigation,
                          mediation, and Plan strategy (1.2); review
                          correspondence with J. Stang, the Diocese,
                          and Judge Cave re mediation (.2); review
                          agenda for state court counsel meeting (.1);
                          correspondence with state court counsel re
                          Arrowood solvency issues (.1); review
                          Evanston correspondence re joint discovery
                          letter (.1); reviewed T. Law's letter to court re
                          discovery and Lexington's suggested changes
                          (.2); conference with J. Bair re proposed
                          Arrowood complaint edits (.3); review J. Bair
                          correspondence to Arrowood re adversary
                          proceeding participation (.1); participate in
                          portion of state court counsel meeting for
                          insurance purposes re litigation, mediation,
                          and Plan strategy (1.1);
5/31/2023 Jesse Bair      Edit and finalize discovery meet and confer          0.10     $62.50
                          correspondence to Arrowood (.1);
5/31/2023 Jesse Bair      Correspondence with B. Michael re agenda for         1.70   $1,062.50
                          upcoming team strategy call (.1); prepare for
                          team strategy call with PSZJ (.1); participate in
                          strategy call with PSZJ for insurance purposes
                          re litigation, mediation, and Plan strategy (1.2);
                          participate in follow-up conference with T.
                          Burns re potential changes to proposed
                          Arrowood unfair claims practices complaint in
                          light of meeting (.3);
5/31/2023 Jesse Bair      Review correspondence with the Diocese and           0.10     $62.50
                          Judge Cave re continued mediation
                          negotiations (.1);
5/31/2023 Jesse Bair      Participate in portion of state court counsel        1.10    $687.50
                          meeting for insurance purposes re litigation,
                          mediation, and Plan strategy (1.1);
5/31/2023 Jesse Bair      Review draft joint status letter to the Court in     0.20    $125.00
                          the LMI/Lexington district court action (.1);
                          review Lexington's suggested edits to same
                          (.1);
5/31/2023 Jesse Bair   Participate in conference with T. Burns re           0.30    $187.50
                       motion to dismiss memo (.1); review T. Burns'
                       suggested insurance edits to same (.1);
                       finalize insurance-related sections of memo
                       (.1);
5/31/2023 Jesse Bair   Review draft joint status letter to the court in the 0.20    $125.00
                       Evanston district court action (.1); review
                       correspondence with the Diocese and
                       Evanston re potential edits to same (.1);
Total Hours and Fees                                                     247.80 $151,579.75

                                   EXPENSES


Date                   Description                                                  Amount
5/9/2023               Taxi, J. Bair (airport to hotel)                              $83.29
5/9/2023               Hotel, T. Burns (1 night)                                    $644.21
5/9/2023               Travel meal, T. Burns                                         $10.82
5/9/2023               United Airlines, T. Burns (May 9-10 ORD-LGA)                 $374.70
5/9/2023               Hotel, J. Bair (1 night)                                     $485.46
5/9/2023               Travel meal, J. Bair                                          $16.33
5/9/2023               Delta Airlines, J. Bair (MSN-LGA May 9-10)                   $269.70
5/9/2023               Delta Airlines WiFi, J. Bair                                   $9.95
5/10/2023              Delta Airlines WiFi, J. Bair                                  $15.95
5/10/2023              Travel meal, T. Burns                                         $36.30
5/10/2023              Travel meal, J. Bair                                          $20.73
5/10/2023              Airport parking, J. Bair                                      $20.00
5/16/2023              Westlaw, legal charges to obtain exhibits from               $697.00
                       Delaware Court in Arrowood mandamus
                       action
5/18/2023              Taxi, J. Bair (airport to hotel)                              $99.96
5/18/2023              Taxi, T. Burns (airport to hotel)                            $127.00
5/18/2023              United Airlines, T. Burns (MSN-EWR May 18-                   $927.80
                       19)
5/18/2023              Delta Airlines, J. Bair (May 18-19 MSN-LGA)                 $1,037.10
5/18/2023              Delta WiFi Onboard, J. Bair                                     $4.95
5/18/2023              United Inflight Wi-Fi, T. Burns                                 $8.00
5/18/2023              Hotel, T. Burns (1 night)                                    $670.31
5/18/2023              Hotel, J. Bair (1 night)                                     $670.31
5/19/2023              Airport parking, J. Bair                                       $20.00
5/19/2023              Hotel, T. Burns (1 additional night)                         $670.31
5/19/2023              Uber, J. Bair (mediation to airport)                         $125.96
5/20/2023              United Airlines Inflight Wi-Fi, T. Burns                        $8.00
5/20/2023              Travel meal, T. Burns                                          $30.59
Total Expenses                                                                     $7,084.73
                      Timekeeper Summary

Name                            Hours             Rate                Amount
Alyssa Turgeon                    0.90         $360.00                $324.00
Brenda Horn-Edwards               0.80         $360.00                $288.00
Brian Cawley                     17.20         $420.00              $7,224.00
Jesse Bair                       19.50         $312.50              $6,093.75
Jesse Bair                       79.60         $625.00             $49,750.00
Karen Dempski                     0.10         $360.00                 $36.00
Leakhena Au                      29.40         $420.00             $12,348.00
Nathan Kuenzi                    17.30         $420.00              $7,266.00
Timothy Burns                    26.00         $487.50             $12,675.00
Timothy Burns                    57.00         $975.00             $55,575.00



                                           Total Due This Invoice: $158,664.48
EXHIBIT G

Proposed Order
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                         ) Case No. 20-12345 (MG)
                                                               )
THE ROMAN CATHOLIC DIOCESE OF                                  ) Chapter 11
ROCKVILLE CENTRE, NEW YORK,                                    )
                                                               )
                                   Debtor.1                    )
                                                               )


                             ORDER GRANTING
              EIGHTH INTERIM APPLICATION FOR ALLOWANCE OF
            COMPENSATION AND REIMBURSEMENT OF EXPENSES BY
               BURNS BAIR LLP AS SPECIAL INSURANCE COUNSEL
         FOR THE PERIOD FROM FEBRUARY 1, 2023 THROUGH MAY 31, 2023

                 Burns Bair LLP (“Burns Bair”) as Special Insurance Counsel to the Official

Committee of Unsecured Creditors in the above-captioned case, filed its Eighth Interim

Application for Compensation for the Period from February 1, 2023 through May 31, 2023 (the

“Fee Application”). The Court has reviewed the Fee Application and finds that: (a) the Court has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; (b) notice of the Fee

Application, and any hearing on the Fee Application, was adequate under the circumstances; and

(c) all persons with standing have been afforded the opportunity to be heard on the Fee Application.

Accordingly, it is hereby

                 ORDERED that the Eighth Fee Application is GRANTED. The Debtor in the

above case shall pay to Burns Bair interim fees in the total amount of $354,008.68 for services

rendered and actual and necessary expenses in the Chapter 11 case during the Interim

Compensation Period, after deducting interim payments already received by Burns Bair pursuant



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 The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last for digits
of its federal tax identification number are 7437, and its mailing address is 50 North Park Avenue, P.O. Box 9023,
Rockville Centre, NY 11571-9023.
to the Interim Compensation Orders for necessary professional services rendered by Burns Bair,

for the period February 1, 2023 through May 31, 2023.

               ORDERED that this Court retains jurisdiction with respect to all matters arising

from or related to the implementation, interpretation, and enforcement of this Order.



Dated: ____________________, 2023.
       New York, New York


                                             THE HONORABLE MARTIN GLENN
                                             U.S. BANKRUPTCY JUDGE




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